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                                                                                                                              Myla A. Eldridge
                                                                                                                                         Clerk
                                                                                                                      Marion County, Indiana

                                                        SUMMONS
                                                                              In the Marion Superior Court, Room No. _


    INDIANAPOLIS MOTOR SPEEDWAY, LLC,

                       Plaintiff,

             V.
                                                                      Cause No. 49D01-1704-PL-016106
    GLOBAL LIVE, INC. and NEW YORK
    MARINE GENERAL INSURANCE COMPANY
    a/k/a PROSIGHT SPECIALTY INSURANCE
    GROUP, INC.,

                           Defendants.

                                      Marine General Insurance Company a/k/a ProSight Specialty
          To Defendant: (Name)        Insurance Group, Inc.
                                      c/o Corporation Service Company, its Registered Agent
                        (Address)     80 State Street

                                      Albanv. NY 12207

         You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated above.
         The nature of the suit against you is stated in the complaint, which is attached to this Summons. It also states the
    relief sought or the demand made against you by the plaintiff.
         An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney
    within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days ii' this
    Summons was received by mail), or a judgment by default may be rendered against you for the relief demanded by the
    plaintiff.
          If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it
     in your written answer.
                   4/21/2017
     Dated
                                                                     CLERK, MARION SUPERIOR COU 7Q.~                           CC

                   (The following manner ofservice of summons is hereby designated.)                       ;
               X        Registered or certified mail.                                                      4      S EAL
                        Service at place of employment, to-wit:
                        Service on individual —(Personal or copy) at above address.
               X        Service on agent. (Specify)      Corporation Service Company, its Registered
                        Other service. (Specify)

                                                                     /s/ Olea Voinarevich
                                                                     Angela P. Krahulik, Atty. No. 23036-49
                                                                     Olga Voinarevich, Atty. No. 32188-48
                                                                     ICE MILLER LLP
                                                                     One American Square, Suite 2900
                                                                      Indianapolis, IN 46282
                                                                     (317) 236-2100
                                                                     Attorneys for Plaintiff




                                                                                                                           A
,_, 'iCase 1:17-cv-01743-JMS-MPB Document 1-1 Filed 05/25/17 Page 2 of 131 PageID #: 8


                                       SHERIFF'S RETURN ON SERVICE OF SUMMONS

                 I hereby certify that I have served this summons on the          day of                 20
               (1) By delivering a copy of the Summons and a copy of the complaint to the defendant, _
               (2) By leaving a copy of the Summons and a copy of the complaint at
         which is the dwelling place or usual place of abode of
         and by mailing a copy of said summons to said defendant at the above address.
               (3) Other Service or Remarks:




                         SHERIFF'S COST                                               SHERIFF

                                                            By:
                                                                               DEPUTY

                                           CLERK'S CERTIFICATE OF MAILING

                I hereby certify that on the           day of                                  , 20     , I mailed a copy of
         this Summons and a copy of the complaint to the defendant,                                                      ,
         by                                mail, requesting a return receipt, at the address furnished by the plaintiff.



                                                             CLERK, MARION SUPERIOR COURT


         Dated                                                    -2                   DEPUTY


                                      RETURN ON SERVICE OF SUMMONS BY MAIL

               I hereby certify that the attached return receipt was received by me showing that the Summons and a
         copy of the complaint mailed to defendant                                             was accepted by the
         defendant on the            day of                      1 20
              I hereby certify that the attached return receipt was received by me showing that the Summons and a
         copy of the complaint was returned not accepted on the                day of
         20
              I hereby certify that the attached return receipt was received by me showing that the Summons and a
         copy of the complaint mailed to defendant                                                    was accepted
         by                                             on behalf of said defendant on the                 day of
                            20
                             1




                                                             CLERK, MARION SUPERIOR COURT

         Dated                                                    By:
                                                                                       DEPUTY
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                                                                                                     Myla A. Eldridge
                                                                                                                Clerk
                                                                                             Marion County, Indiana

                       INDIANA COMMERCIAL COURT
   STATE OF INDIANA                 )          IN THE MARION SUPERIOR COURT
                                    ) SS:
   COUNTY OF MARION                 )          CAUSE NO. 49D01-1704-PL-016106

   INDIANAPOLIS MOTOR SPEEDWAY, LLC,

                     Plaintiff,

            V.

                                                                 IDENTIFYING NOTICE
   GLOBAL LIVE, INC. and NEW YORK MARINE
   GENERAL INSURANCE COMP.ANY a/k/a
   PROSIGHT SPECIALTY INSURANCE GROUP,
   INC., .

                     Defendants..

                   NOTICE IDENTIFYING COMMERCIAL COURT DOCKET CASE

            The undersigned states that this case is a Commercial Court Docket Case eligible for

   assignment to the Commercial Court Docket pursuant to Rule 2 of the Interim Commercial Court

   Rules.

            Pursuant to Rule 4 of the Interim Commercial Court Rules, the undersigned requests the

   Clerk of Court assign this case to the Commercial Court Docket.

                                                       Respectfully submitted,

                                                       ICE MILLER LLP

                                                      /s/ Olga Voinarevich
                                                      Angela P. Krahulik, Atty. No. 23036-49
                                                      Olga Voinarevich, Atty. No. 32188-48

                                                       Attorneys for Indianapolis Motor Speedway,
                                                       LLC

   ICE MILLER LLP
   One American Square, Suite 2900
   Indianapolis, IN 46282
   (317) 236-2100




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                                                                                                              Myla A. Eldridge
                                                                                                                        Clerk
                                                                                                     Marion County, Indiana



        STATE OF iNDIANA              ) - IN MARION COUNTY SUPERIOR COURT
                                      )SS:
       COUNTY OF MARION               )      CAUSE NO. 49D01-1704-PL-016106

        INDIANAPOLIS MOTOR SPEEDWAY, LLC, I

                      Plaintiff,

               V.


        GLOBAL LIVE, INC. and NEW YORK
        MARINE GENERAL INSURANCE COMPANY
        a/k/a PROSIGHT SPECIALTY INSURANCE
        GROUP, INC.,

                      Defendants.

                       E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

        This Appearance Form must be filed on behalf of every party in a civil case.
               The party on whose behalf this form is being filed is:
               Initiating X                   Responding              Intervening       ; and

               the undersigned attorney and all attorneys listed on this form now appear in this case for
               the following parties:
               Name of party Indianapolis Motor Speedway, LLC
               Address of party (see Question # S below if this case involves a protection from abuse
               order, a workplace violence restraining order, or a no-contact order)


               Telephone # of party
           2. Attorney information for service as required by Trial Rule 5(B)(2)

              Angela D. Krahulik, Atty. No. 23036-49              Olga Voinarevich, Atty. No. 32188-48
              ICE MILLER LLP                                      ICE MILLER LLP
              One American Square, Suite 2900                     One American Square, Suite 2900
              Indianapolis, IN 46282                              Indianapolis, IN 46282
              (317) 236-5991                                      (317) 236-2347
              Angela.Krahulik@icemiller.com                       Olga.voinarevich@icemiller.com


               -IMPORTANT: Each attorney specified on this appearance:
               (a)      certifies that the contact information listed for him/her on the Indiana Supreme
                        Court Roll of Attorneys is current and accurate as of the date of this
Case 1:17-cv-01743-JMS-MPB Document 1-1 Filed 05/25/17 Page 5 of 131 PageID #: 11




                  Appearance;
         (b)      acknowledges that all orders, opinions, and notices from the court in this
                  matter that are served under Trial Rule 86(G) will be sent to the attorney at
                  the email address(es) specified by the attorney on the Roll of Attorneys
                  regardless of the contact information listed above for the attorney; and
          (c)     understands that he/she is solely responsible for keeping his/her Roll of
                  Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
                  2(A).
          Attorneys can review and update their Roll of Attorneys contact information on the
          Courts Portal at http://portal.courts.in.gov.

      3. This is a     PL            case type as defined in administrative Rule 8(13)(3).

      4. This case involves child support issues. Yes      No X      (Ifyes, supply social
         security numbers for all family members on a separately attached document filed as
         confidential inforniation on light green paper. Use Form TCM-TR3. I-4.)
         This case involves a protection from abuse order, a workplace violence restraining order,
         or a no — contact order. Yes       No X        (If Yes, the initiating party must provide an
         address for the purpose of legal service but that address should not be one that exposes
         the whereabouts of a petitioner.) The party shall use the following address for purposes
         of legal service:

                            Attorney's address

                            The Attorney General Confidentiality program address
                            (contact the Attorney General at 1-800-321-1907 or e-mail address is
                            confidential@atg.in.gov).
                            Another address (provide)



      This case involves a petition for involuntary commitment. Yes            No X

      6. If Yes above, provide the following regarding the individual subject to the petition for
         involuntary commitment:

            a. Name of the individual subject to the petition for involuntary commitment if it is
               not already provided in # 1 above:


            b. State of Residence of person subject to petition:

            c. At least one of the following pieces of identifying information:

               (i)   Date of Birth

               (ii) Driver's License Number

                     State where issued                    Expiration date
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              (iii) State ID number

                   State where issued                     Expiration date

              (iv) FBI number

              (v) Indiana Department of Corrections Number

          (vi) Social Security Number is available and is being provided in an attached
               confidential document Yes       No

      7. There are related cases: Yes        No X         (If yes, list on continuation page.)

      8. Additional information required by local rule:


      9. There are other party members: Yes            No X (If yes, list on continuation page.)

      10. This form has been served on all other parties and Certificate of Service is attached:

         Yes X No_



                                                         Respectfully submitted,

                                                         ICE MILLER LLP

                                                         /s/ Olga Voinarevich
                                                         Angela P. Krahulik, Atty. No. 23036-49
                                                         Olga Voinarevich, Atty. No. 32188-48

                                                         Attorneys for Plaintiff, Indianapolis Motor
                                                         Speedrvay, LLC

   ICE MILLER LLP
   One American Square, Suite 2900
   Indianapolis, IN 46282
   (317) 236-2100




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                                     CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of the foregoing has been served on the

    following, via U.S. Certified Mail, return receipt requested, on the 2151 day of April, 2017:

                   Global Live, Inc.
                   c/o Corporation Service Company, its Registered Agent
                   2711 Centerville Rd., Suite 400
                   Wilmington, DE 19808

                   Marine General Insurance Company a/k/a ProSight
                   Specialty Insurance Group, Inc.
                   c/o Corporation Service Company, its Registered Agent
                   80 State Street
                   Albany, NY 12207


                                                          /s/ Olga Voinarevich
                                                          Olga Voinarevich, Atty. No. 32188-48

    ICE MILLER LLP
    One American Square, Suite 2900
    Indianapolis, IN 46282
    (317) 236-2100




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                                                                                                     Myla A. Eldridge
                                                                                                                Clerk
                                                                                             Marion County, Indiana



                                INDIANA COMMERCIAL COURT

   STATE OF INDIANA              )      iN THE MARION SUPERIOR COURT
                                 )SS:
   COUNTY OF MARION              )      CAUSE NO. 49D01-1704-PL-016106

   INDIANAPOLIS MOTOR SPEEDWAY, LLC,

                 Plaintiff,

          V.

   GLOBAL LIVE, INC. and NEW YORK
   MARINE GENERAL INSURANCE COMPANY
   a/k/a PROSIGHT SPECIALTY INSURANCE
   GROUP, INC.,

                  Defendants.

               ADMINISTRATIVE RULE 9(G)(5) NOTICE OF EXCLUSION OF
                CONFIDENTIAL INFORMATION FROM PUBLIC ACCESS

          Contemporaneous with the filing of this notice, Plaintiff has filed confidential

   information in accordance with Administrative Rule 9(G)(6). Pursuant to Administrative Rule

   9(G)(5), Plaintiff provides this notice that the confidential information is to remain excluded

   from public access in a'ccordance with the authority listed below:

     Redactions to Be Excluded from Public              Administrative Rule 9(G) grounds upon
                    Record                                  which exclusion is authorized

   Portions of paragraph 12 of the Complaint, at     Administrative Rule 9(G)(2)(b); Ind. Code
    age 3.                                           §§ 24-2-3-2,24-2-3-6
   Portions of Exhibit A to Complaint, titled        Administrative Rule 9(G)(2)(b); Ind. Code
   "Special Event Agreement," at pages 1, 3, 4,      §§ 24-2-3-2, 24-2-3-6
   and 5
   Portions of Exhibit B to Complaint, titled        Administrative Rule 9(G)(2)(b); Ind. Code
   "Certificate of Liability Insurance"              §§ 24-2-3-2, 24-2-3-6
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                                          Respectfully submitted,

                                          ICE MILLER LLP


                                          /s/ Olga Voinarevich
                                          Angela P. Krahulik, Atty. No. 23036-49
                                          Olga Voinarevich, Atty. No. 32188-48

                                          A ttorneysfor Plaintiff, Indianapolis Motor
                                          Speedway, LLC

   ICE MILLER LLP
   One American Square, Suite 2900
   Indianapolis, IN 46282
   (317) 236-2100




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                                                                                                                                Clerk
                                                                                                             Marion County, Indiana

                         CONFIDENT/AL - NOT FOR PUBL/C ACCESS
                                                INDIANA COMMERCIAL COURT

             STATE OF INDIANA                   )      1N THE MARION SUPERIOR COURT
                                                )SS:
             COUNTY OF MARION                   )      CAUSE NO. 49D01-1704-PL-016106

             INDIANAPOLIS MOTOR SPEEDWAY, LLC,                      I

                               Plaintiff,

                        V.


             GLOBAL LIVE, INC. and NEW YORK
             MARINE GENERAL INSURANCE COMPANY
             a/k/a PROSIGHT SPECIALTY INSURANCE
             GROUP, INC.,

                               Defendants.

                         IMS'S COMPLAINT AGAINST GLOBAL LIVE INC. AND NEW YORK
                           MARINE GENERAL INSURANCE COMPANY A/K/A/ PROSIGHT
                                    SPECIALTY INSURANCE GROUP, INC.

                        Plaintiff, Indianapolis Motor Speedway, LLC ("IMS"), by counsel, for its Complaint

             against Defendants, Global Live, Inc. ("Global Live") and New York Marine General Insurance

             Company a/k/a ProSight Specialty Insurance Group, Inc. ("ProSight") (collectively,

             "Defendants"), alleges and states:

                                            PARTIES, JURISDICTION AND VENUE

                        1.     IMS is a limited liability company organized under the laws of the State of

                 Indiana, with its principal place of business in Marion County at 4790 W. 16`h Street,

                 Indianapolis, Indiana 46222.

                        2.     At all relevant times, Global Live was a domestic corporation with its principal

                 place of business located at I 100 Glendon Avenue, 2I S` Floor, Los Angeles, California 90024.

                        3.     At all times relevant, ProSight was a domestic corporation with its principal place

                 of business located at 9 Maiden Lane, 27`h Floor, New York, New York 10038.
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                   4.      This Court may exercise personal jurisdiction over Defendants because

            Defendants have transacted business in the State of Indiana, have entered into agreements

            covering performance of duties in the State of Indiana, and have caused harm in the State of

            Indiana.

                   5.      Venue is also proper in this Court because a substantial part of the events or

            omissions giving rise to the alleged claims at issue occurred in Marion County.

                                                         FACTS

                                         Contracts between IMS and Defendants

                   6.      On or about April 6, 2015, IMS and Global Live entered into a valid and

            enforceable Special Event Agreement (the "Event Agreement"). A true and correct copy of the

            Event Agreement, with trade secret and commercially and financially sensitive information

            redacted, is attached hereto as Exhibit A.

                   7.      The Event Agreement allowed Global Live to host a concert featuring the musical

            group professionally known as "The Rolling Stones" at the Indianapolis Motor Speedway on or

            about July 4, 2015 (the "Event").

                   8.      The Event Agreement set forth obligations and responsibilities of the parties in

            connection with the Event.

                   9.      Global Live's contractual duties included, inter alia, organizing, hosting, and

            sponsoring multiple aspects of the Event, including but not limited to marketing expenses,

            ticketing costs, event production, labors costs, permits, and event insurance. See Ex. A, at 1-3

                   10.     Specifically, Global Live was expressly obligated to provide coverage for all

            claims arising in connection with the Event. Ex. A, at 4, ¶ 9.




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                    11.      The Event Agreement repeatedly refers to the concert attendees as Global Live's

            "invitees." See Ex. A, at 4, 111.

                    12.      Under the pertinent terms of the Event Agreement, Global Live was required to

            "obtain and maintain at its expense commercial general liability insurance covering the

            Event ... for full coverage of claims to a limit of at least              per occurrence and in the

            aggregate (the "Policy")." Ex. A, at 4, ¶ 9(emphasis added).

                    13.      According to Paragraph 9(b) of the Event Agreement, "[t]he Policy specifically

            covers the Event and [Global Live,'s] obligations to IMS." Ex. A, at 4.

                    14.      At all relevant times, ProSight was Global Live's commercial general liability

            insurer.

                       15.   As required under the terms of the Event Agreement, IMS was added as an

            additional insured to Global Live's Commercial General Liability ("CGL") insurance policy by a

            Certificate of Liability Insurance issued by ProSight for CGL policy number GL 201500004535

            with a period of July 1, 2015 to July 6, 2015 (the "Policy"). A true and correct copy of the

            Certificate of Liability Insurance, with trade secret and commercially and financially sensitive

            information redacted, is attached as Exhibit B.

                       16.   To date, IMS has never been provided with a copy of the complete CGL Policy.

                       17.   The Event Agreement further specifies that the coverage under the Policy must

            explicitly include IMS "as an additional insured under the Policy" and indicates that the coverage

            provided to IMS is to be "primary to any other coverage(s) available to IMS." Ex. A, at 4, ¶ 9(a),

            (c).

                       18.   The Event Agreement further specifies that "[t]he amount of insurance coverage

            required to be obtained by [Global Live] is minimum coverage, and it shall be [Global Live's]



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    obligation to purchase Insurance for full coverage of claims . .. to protect itself and provide

    Indemnity to IMS Group based upon the activities to occur in connection with the Event." Ex. A,

    at 4, ¶ 9 (emphasis added).

              19.   The Indemnity provision of the Event Agreement provides as follows:

                    To the fullest extent possible, it is the intention of [Global Live]
                    and IMS that the Indemnities set forth below and the insurance
                    coverage maintained by [Global Live] pursuant to Section 9 will
                    provide liability protection to [Global Live] and IMS Group for
                    claims arising out of [Global LiveJ's and its invitees' presence at
                    the Speedway during the Event... [I]f and the extent the coverage
                    maintained by [Global Live] ... for IMS Group's benefit does not
                    hold IMS Group harmless, [Global Live] shall indemnify, defend
                    and hold harmless IMS Group for third party claims and liability
                    arising in connection therewith, including costs and reasonable
                    attorneys' fees arisingfrom (i) [Global Live's] or its Invitees' use
                    of the Speedway or (ii) the negligence or willful misconduct of
                    [Global Live] or its Invitees. . .

    Ex. A, at 5, ¶ 11(a) (emphasis added).

              20.   To the extent there are any known or unknown claims arising out of the Event,

    ProSight is contractually obligated to provide a defense and indemnity to IMS, as its insured,

    under the Policy.

              21.   Moreover, to the extent ProSight fails to provide the required defense and

    indemnity to IMS, Global Live must satisfy its duty to defend and indemnify IMS from any such

    claims.

                                        The Underlying Lawsuit

              22.   On or about July 4, 2015, Global Live hosted the Event at Indianapolis Motor

    Speedway.

              23.   Upon information and belief, non-parties, Pamela Shepard and William Shepard

    (collectively, the "Shepards") attended the Event.



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               24.     Upon information and belief, the Shepards tripped over a curb and fell while

        walking in the tunnel at the Indianapolis Motor Speedway, exiting the Event.

               25.     Upon information and belief, Mr. Shepard sustained minor injuries to his leg.

               26.     Upon information and belief, Mrs. Shepard sustained injuries to her left elbow

        and right shin, which required surgical intervention and other treatment.

               27.     On or about December 28, 2016, the Shepards filed a Complaint for Damages

        against IMS (the "Shepards' Complaint") in an action now pending in Marion County, Indiana

        entitled Pamela Shepard and William Shepard v. Indianapolis Motor Speedway, LLC, Cause No.

        49D10-1701-CT-000393 (the "Underlying Lawsuit"), alleging IMS is liable to the Shepards for

        damages arising from the allegations set forth in the Shepards' Complaint. A true and correct

        copy of the Shepards' Complaint is attached hereto as Exhibit C.

               28.     The Shepards' Complaint alleges that the Shepards' claims arise out of the

        incident described in Paragraphs 24 through 26 above and further alleges that, by failing to

        provide adequate illumination for business invitees exiting the Event, IMS breached its duty of

        care to the Shepards (the "Claims")

               29.     While IMS denies the aforementioned allegations and any liability on behalf of

        IMS, the Claims and the Underlying Lawsuit are squarely within the scope contemplated by the

        Event Agreement between IMS and Global Live and the Policy issued by ProSight (as evidenced

        by the Certificate of Liability Insurance issued to IMS by ProSight).

               30.     Accordingly, because ProSight was obligated to provide insurance coverage

        protection for all "claims arising out of [Global Live]'s and its invitees' presence at the

        Speedway during the Event[,]"and due to IMS's status as ProSight's additional insured, ProSight




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    is required to defend the Claims and to indemnify IMS for any damages in connection with the

    claims in the Underlying Lawsuit. See Ex. A.

           31.     Moreover, to the extent ProSight refuses to defend the Underlying Lawsuit and

    indemnify IMS in connection with the Underlying Lawsuit and/or the Claims, Global Live is

    contractually obligated to do so itself.

           32.     IMS notified Global Live and ProSight of the Shepards' Claims within days of the

    Event and ProSight acknowledged the receipt of said information. However, to date, IMS has

    contacted Global Live and/or ProSight regarding the Claims multiple times over a period of more

    than 18 months, but has not received any substantive response.

           33.     The Underlying Lawsuit has continued, and is still pending in Marion County,

    and IMS is forced to defend itself as to the Claims in Global Live's and ProSight's absence.

            34.     Despite numerous demands to assume their responsibilities, Defendants have

    committed multiple breaches of the Event Agreement and/or the Policy by failing to defend,

    indemnify, and hold IMS harmless in connection with the Underlying Lawsuit, as they were

    expressly obligated to do under the terms of the Event Agreement and the Policy.

            35.     IMS has fulfilled all of its duties, conditions, and prerequisites to coverage under

    the Event Agreement and the Policy with respect to the Claims and/or the Underlying Lawsuit.

            36.     IMS is thus entitled to an award of all amounts and all expenses and costs

    incurred as a result of IMS's defense of the Underlying Lawsuit and payment for the same on an

    as-incurred basis going forward, plus interest, attorneys' fees, court costs, and expenses IMS

    incurs in the Underlying Lawsuit (including any amount paid by vendor or in settlement), and a

    declaration pursuant to Indiana Code § 34-14-1 et seq. that Defendants are obligated to provide




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    insurance coverage, indemnify, and hold IMS harmless in connection with the Underlying

    Lawsuit and/or the Claims.


                                                    COUNTI

                                 BREACH OF CONTRACT AGAINST PROSIGHT

              37.   IMS restates and incorporates the allegations of paragraphs 1 through 36 above as

    if fully set forth herein.

              38.   IMS and ProSight are parties to the Policy, which is a valid and enforceable

    agreement.

              39.   As part of the Policy, IMS is entitled to coverage, defense, and indemnity from

    ProSight for any claims that have been or may be asserted against IMS relating to the Event.

              40.   Upon information and belief, no terms or exclusions in the Policy unambiguously

    exclude coverage for the Underlying Lawsuit and the Claims asserted in the Underlying Lawsuit

    are within the scope of coverage contemplated by the Event Agreement and the Policy.

              41.   As such, ProSight has a duty to provide coverage, defend, and indemnify in the

    Underlying Lawsuit.

              42.   Despite numerous demands to comply with the terms of the Policy, ProSight has

    failed to provide coverage, to defend the Underlying Lawsuit, or to acknowledge its duties to

    IMS for any and all claims related to the Event, including the Claims asserted in the Shepards'

    Complaint, which constitutes a material breach of ProSight's duties under the Policy.

              43.    IMS has been, and will continue to be, damaged by ProSight's breach of the

    Policy.

              44.   As a result, IMS is entitled to direct, compensatory, consequential, and incidental

    damages.


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            45.     Upon information and belief, all conditions precedent to coverage under the

    Policy have been satisfied or waived and no exclusion within the Policy precludes coverage for

    the Underlying Lawsuit and the Claims.


                                                   COUNT II

               PROSIGHT'S BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

            46.     IMS restates and incorporates the allegations of paragraphs 1 through 45 above as

    if fully set forth herein.

            47.     IMS and ProSight are parties to the Policy, executed in favor of IMS (the insured

    under the Policy), which is a valid and enforceable policy of insurance.

            48.     Indiana law imposes upon insurers, such as ProSight, an obligation of good faith

    and fair dealing with their insureds.

            49.     ProSight's obligation of good faith and fair dealing includes an obligation to

    refrain from causing an unfounded delay in making payment; making an unfounded refusal to

    pay policy proceeds; exercising an unfair advantage to pressure an insured into settlement of a

    claim; and, deceiving the insured.

            50.     Despite IMS's numerous attempts to obtain cooperation from ProSight with

    regard to ProSight's obligations under the Policy, ProSight has refused to acknowledge IMS's

    right to coverage, defense, and indemnity under the Policy, has failed to respond to IMS's tender

    of the claim, and failed to disclaim or accept coverage or to provide IMS a defense in connection

    with the Underlying Lawsuit.

            51.     As set forth herein, IMS has been forced to defend itself against the Underlying

    Lawsuit because ProSight wrongfully failed to provide it a defense under the Policy.




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            52.     IMS has and continues to incur costs, expenses, and attorneys' fees due to

    ProSight's breaches of its duties to its policyholder, and failure to provide coverage and defend

    IMS in the Underlying Lawsuit.

            53.     ProSight's breaches of its fiduciary duties to its policyholder are such that

    punitive damages, including treble damages, and attorneys' fees are appropriate.

                                                   COUNT III

                            DECLARATORY JUDGMENT AGAINST PROSIGHT

            54.     IMS restates and incorporates the allegations of paragraphs 1 through 53 above as

    if fully set forth herein.

            55.     The above allegations describe an actual and justiciable controversy between IMS

    and ProSight regarding their rights and obligations under the Policy.

            56.     ProSight is obligated to provide IMS a defense and indemnification for claims to

    which the insurance applies, including the Claims asserted in the Underlying Lawsuit.

            57.     Upon information and belief, no terms or exclusions in the Policy unambiguously

    exclude coverage for the Underlying Lawsuit. The Claims asserted in the Underlying Lawsuit are

    within the scope of coverage contemplated by the Policy.

            58.     ProSight has wrongly failed to abide by its obligations to defend and indemnify

    IMS in the Underlying Lawsuit.

            59.     The issues in this action are ripe for decision and relate to the construction and

    validity of the Policy, including the rights of IMS to be provided a defense in the Underlying

    Lawsuit.

            60.      IMS therefore seeks a declaration that ProSight is obligated to provide insurance

    coverage for any and all claims raised in the Underlying Lawsuit.



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            61.     IMS further seeks a declaration that ProSight is obligated to otherwise fully defend,

    indemnify and hold IMS harmless for any and all claims made or otherwise made in the Underlying

    Lawsuit up to the applicable limits ofthe Policy.

                                                    COUNTIV

                             BREACH OF CONTRACT AGAINST GLOBAL LIVE

            62.     IMS restates and incorporates the allegations of paragraphs 1 through 61 above as

    if fully set forth herein.

            63.     IMS and Global Live are parties to the Event Agreement, which is a valid and

    enforceable agreement.

            64.     Under the terms of the Event Agreement, Global Live was obligated to procure

    insurance for any claims relating. to the Event, including the Claims raised in the Underlying

    Lawsuit. The coverage was to be primary to any other coverage(s) available to IMS.

            65.     However, if Global Live's insurance fails to provide coverage, defense, and

    indemnification for claims arising from the Event, including the Claims raised in the Underlying

    Lawsuit, Global Live is obligated to do so itself.

            66.     ProSight has failed to comply with its obligations and to provide defense and

    indemnification to IMS as its insured, as evidenced by the Certificate of Liability Insurance.

            67.     Accordingly, under the Event Agreement, IMS is entitled to reimbursement of its

    defense and indemnity from Global Live for any claims that have been or may be asserted

    against IMS relating to the Event, including the Claims alleged in the Underlying Lawsuit, as

    well as all interest, attorneys' fees, court costs, and expenses IMS incurs in the Underlying

    Lawsuit (including any amount paid by vendor or in settlement).




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           68.     Despite numerous demands to comply with the terms of the Event Agreement,

    Global Live has breached the Event Agreement by failing to defend the Underlying Lawsuit and

    failing to hold IMS harmless for the Claims raised in the Underlying Lawsuit, which constitute

    material breaches of the Event Agreement.

           69.     Under Indiana law, the disclaimer of a contractual duty is a breach of contract

    even if the time specified in the contract for performing the duty has not yet arrived.

           70.     IMS has been, and will continue to be, damaged by Global Live's breach of the

    Event Agreement.

           71.     As a result, IMS is entitled to direct, compensatory, consequential, and incidental

    damages, including its fees and costs in the Underlying Lawsuit and in this action.

           72.     Upon information and belief, all conditions precedent to this action have been

    waived or have been fulfilled.

                                        PRAYER FOR RELIEF

           WHEREFORE, IMS respectfully requests that the Court grant it the following relief:

           A.      A declaratory judgment that ProSight is obligated to provide coverage, including

    both defense and indemnity, in connection with the Underlying Lawsuit; Immediate payment for

    any and all amounts and all expenses and costs incurred as a result of IMS's defense of the

    Underlying Lawsuit and payment for the same on an as-incurred basis going forward, plus all

    interest, attorneys' fees, court costs, and expenses IMS incurs in the Underlying Lawsuit;

           B.      Immediate payment for any and all amounts and all expenses and costs incurred

    as a result of IMS's defense of the Underlying Lawsuit and payment for the same on an as-

    incurred basis going forward, plus all interest, attorneys' fees, court costs, and expenses IMS

    incurs in the Underlying Lawsuit;
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            C.     A judgment in IMS's favor and against the Defendants in an amount that will

    fully compensate IMS for its damages and losses, including compensatory, consequential and

    incidental damages and prejudgment interest, including but not limited to an award of costs, fees

    (including attorneys' fees), treble damages, punitive damages, and litigation expenses in this

    action, with interest; and

            D.     For all such other relief that is just and proper in the premises.

                                                          Respectfully submitted,

                                                          ICE MILLER LLP

                                                          /s/ Olga Voinarevich
                                                          Angela P. Krahulik, Atty. No. 23036-49
                                                          Olga Voinarevich, Atty. No. 32188-48

                                                          Attorneys for Indianapolis Motor Speedway,
                                                          LLC

    ICE MILLER LLP
    One American Square, Suite 2900
    Indianapolis, IN 46282
    (317) 236-2100




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 CONFIDENTIAL                                                                                              NOT FOR PUBUV,:V!WEid5ay
                                                                                                                                                      Clerk
                                                                                                                                     Marion County, Indiana

                                 ~                   SPECI,AL EVENT AGREEMENT


                        THIS SPEE.IAL EVI=NT AGREEMENT j"Aareemenf'1 is effective. as of.Apfil _, 2015 (the "Effectiye
             pate"), by and between indiariapolis Motor Speedway; LLO, an Indian.a limited liability company located at 4790 West
             161 ' Street, Indianapolis, Indiana 46222 ("IMS"), .and the licensee Identifie.d in Section 1.. In consideration of the
             mutual covenants set forth In this Agreeme.nt, and other good and valuable: consideration, the receipt and s,ufficienGy
             of which. are hereby acknowledged,.lhe. parties to this Agreement agree as follows:

             1.. Licensee identification and Event Details.
             Company Name: Global Liv.e, Inc. ("Licensee")                                        Contact Person: Gharles Ciongoli
             Add.ress: 1100 Glendon Avenue, 21:sl Ftoor, Los Angeles, CA 90024                    Telep.hone Number; 310=774-4700
             E=Mait: chuck.ciongoli@thisisglobal.coni




             Event Name: Rolling Stones Concert
             Event Date(s) and Times: July 4, 201$, 5:00.a.I7i. —(.          1. ActUal performanee time to be tputually agreed .by the
             parties; Gainping and RV's to be allowed on the Licensed Premises (as defined below) frorn July 3,.2015 through th'e-
             end of. the Event, subject to the. consume>'s execution of any standard license.agreements normaliyrequire.d by IMS'.
             Set Up Dafe(s) and'Tiines:,l3eginaino Sanday,, June 28, 2015 at $:OQ a.m. .Access to the Licensed Premises to be
             coo.rdinated with IMS personnel. Licensee shall use: reasonable efforts to cause:its Invitees that will be conducting set-
             up, tear-down arid otiier w.ork in connectlon with the Event to: execute standard. copserit and liabill.ty releases, normafly
             required, by IM9 priot to such InVitees being al[owod accesstFieto Llcensed Pterriises.
            Tear pown Date(s) and Times: To be completed by Monday, July 6, 2015 by 11:59 p:m. Access:to the LicerYsed
            Premises to be coordinated with IMS personnel.
            Description of Event: Licensee will' host a concert featuring the musical group professionally known as "The Rolling
            Stones" (ttie "Artist") at the Iridianapolis Motor Speedway (the "Seeedway:") in and around the Plaia,. PaviJioh; Media
            Center, Moto GP garages, Old Timers Ftoom, tJorth Chalet, oval track and such other lo.cations as shall be
            deterrpined`by IMS and.Licerisee'(the:"Licerised Premises"l. The event will consist of the foilowing activities and sueh
            other activities as shall be. agreed b.etween IMS and Licensee, all of which shall comply with the terms of this
            Agreement (coltectively; the "Event' :
                                     (i) conceft; and
                                     (ii) freworks display.,
            Incl.uded Services and Equipment to be prov.ided by IMS:

            g) Ambu/ance and OtherMedical Services..IJV1S will secure a.rrlbulatory setvices for the Event and ln addition w/ll
            make avallable use ofits onsite hospital facility which tMS will cause to be staffed and operational at all times during
            the Event. .IIV1S will provide the foregoing to Licensee's ezpense, provided the amount charged to License.e shall be
            tMS' actual cost thereforon a'pass-thruu"basis,. excluding any overhead charge.and without.marlc-up.

            DI Facilitles Staff !MS sha(t prl?vide Facilities Staff inefibers, who will be available for the entire .Event. The tiumber
            of such FacJlities Staff inembers and their functions (e.g., security, ushers, ticket takers) shal/ be mufaally agreed
            prior to the Event and shall be reasonable.for an event of this size aiid type, and sha/l include, but not be li.mited to,
            staff and equipment for cleanrrlglh.ousekeeping senrices, potJce and trre setvice$, carlipi/ig operations.and paiking
            and trat/ic services. IMS will_ provide the. foregoiny to Licensee's expense; provided the amount charged to Licensee
            shall be 11V1S' actual eost therefor on a pass-lhru" basis, excluding a.ny overhead charge and without mark-up.




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             c1 Video eoards. Subject to IMS's pre-approval of the advertiser, Licensee shall be permitted to display its and its
             affiliated companies' advertising and imagery, in accordance with Section 7(d) of the Agreement, on IMS's video
             boards.

             d1 Public Announcements. IMS shall make available, limited use of the public address system. Announcers and all
             content shall be provided by Licensee, subject to IMS pre-approval.

             el Food and Beverage Trucks. The parties agree that Levy Premium Foodservice Limited Partnership shall be the
             food and beverage service provider at the Event. IMS shall make arrangements for such service, including without
            limitation, fhe arrangement of food and beverage truck vendors desired by Licensee.

            f~ Golf Carts. IMS shall make available to Licensee IMS' golf carts for use by Licensee's production personnel at no
            additional charge. Subject to execution of IMS' Consent, Indemnification & Liabflity Release Agreement for Use of a
            Golf Cart, any and all othergolf carts operated on the premises of the Speedway, whether Licensee-owned or rented,
            must be registered with IMS. All golf cart operators must be at least 18 years of age. If use of a golf cart is part of this
            Agreement, then the IMS Credential Office will provide Licensee an IMS golf cart voucher("GC Voucher') upon
            receipt and approval of.• this Agreement, Licensee's certificate of insurance, and a completed golf can` registration
            form. The GC Voucher must be redeemed at the IMS Safety Office for an IMS golf cart permit/sticker j"GC Permit").
            The GC Permit must be placed on Licensee's golf cart. An authorized representative of Licensee must execute IMS'
            standard waiver and release of liability and indemnity agreement for golf carts and initial a copy of IMS' standard rules
            of operation forgolf carts at the time of redeeming the GC Voucher for a GC Permit. Al/ go/f carts operated on the
            premises of the Speedway, regardless of who owns the go/f cart(s), must be registered with /MS.

            g1 Fireworlcs. To be provided by IMS at Licensee's expense, in accorr/ance with a budget to be mutual/y agreed in
            advance, provided the amount charged to Licensee shall be IMS' actual cost therefor on a `pass-thru" basis,
            excluding any overhead charge and without mark-up. IMS acknowledges that in addition to the fireworks display to
            which the preceding sentence applies, Artist shall be entitled to include a firoworks disp/ay as part of Artist's concert,
            and that IMS will make available at no cost the services of a supervisory pyrotechriician in connection therewith.

           Pj Fencing. To be provided by /MS at Licensee' expense, in accordance with a budget to be mutually agreed in
           advance, provided the amount charged to Licensee shall be IMS' actual cost therefor on a'pass-thru" basis,
           excluding any overhead charge and without mark-up.

            J/   Light towers. To be provided by /MS at Licensee's expense, in accordance with a budget to be mutually agreed
           in advance, provided the amount charged to Licensee sha/l be IMS' actual cost therefor on a "pass-thru" basis,
           excluding any overhead charge and without mark-up.

           Additional Services and Equipment: If at Licensee's request IMS facilitates on behalf of Licensee a third party
           rental of equipment or engagement of third party services, Licensee will be responsibie for the actual invoice price of
           such rental or services upon presentation of the applicabie invoice with respect thereto at settlement. Notwithstanding
           anything contained in this Agreement to the contrary, subject to coordination with IMS personnel, IMS owned or
           leased equipment will be made available for Licensee's use in connection with the Event at no charge.

           Additional responsibitities of Licensee:

           a) At no cost to IMS, Licensee agrees to provide 1MS with a 60X 60' display area in the Plaza.

           bj All labor costs not othenvise provided for above, including, without limitation, the costs of stage hands, rigging
           personnel, loaders and unloaders.

           ~, Ticketing costs including credit card fees.

           _d,), Event Production, including, without limitation, staging, pla[forms, risers, and barricades, including the equipment
           and costs therefor except as otherwise provided in this Agreement.

           e) Event insurance as set forth below.

           fl Permits, if applicable, with respect to the Evenf.

           g1 Advertising and marketing expenses with respect to the Event.




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           Payment: The License Fee and Other Fees are due and payable upon settiement of the Event, which shall take
           place within five (5) business days following the completion of tear down.

           2.      License. IMS grants to Licensee a limited, non-transferable and non-exclusive license "License" to use
           designated areas during the Event and the set up and tear down periods for the Event as set forth above in
           accordance for customary standards for comparable events in the United States. This Agreement does not create nor
           convey any legal title, leasehold or other legal, equitable or beneficial property interest in or to the Speedway.




           4.       Services and Eguipment. IMS shall provide or arrange for all Included Services and Equipment as set forth
           above, and any Additional Services and Equipment requested by Licensee and agreed to by IMS. Third party
           vendors and service providers with respect to Additional Services and Equipment requested by Licensee shall be
           subject to Licensee's and IMS' mutual approval, not to be unreasonably withheld, and any such services and
           equipment must be of "first class" quality.
           5.      Open and Close Times and Tear pown. Unless specified in Section 1, open and close times and tear
           down times shall be mutually determined by IMS and Licensee.

           6.       La s. In the event that persons are participating in hot laps or track laps that are approved by IMS they must
           be at least eighteen (18) years old; possess valid, government-issued photo identification; and execute all IMS
           required consent and liability releases.

           7.        Commercial Transactions.

                a. Generallv. Unless otherwise set forth in Section 1 or this Section 7. IMS prohibits (i) all commercial
                transactions at the Speedway, including but not limited to the sale of food, alcoholic and nonalcoholic beverages,
                and merchandise and (ii) all distribution of products (including donated products), samples and/or premiums
                (non-saleable articles bearing trademarks, logos or advertising used to promote or publicize any product or
                service). Licensee shall ensure that its Invitees (as defined in Section 11), are aware of and comply with the
                terms and conditions regarding commercial transactions in this Agreement.

                b. Food and Beverages. IMS shall arrange for Levy to provide food and beverrage concessions specified in
                Section 1 at IMS designated concessions and food and beverage truck areas, and all hospitality food and
                beverages shall be provided by Levy or IMS-approved caterers at Licensee's additional cost.

                c. Merchandise. Licensee and its contractors may sell Event merchandise in IMS designated areas so long as
                the Event merchandise does not display any IMS trademark. Notwithstanding the foregbing, Licensee and its
                contractors shall be entitled to offer for sale t-shirts and other merchandise displaying designs that identify the
                Event by the name of the venue. Unless set forth in Section 1, no other sale of inerchandise by Licensee or its
                contractors is permitted. Licensee represents, warrants and covenants that, prior to the Event and continuing
                throughout the Event, Licensee or its contractors shall secure and maintain a proper license from any and all
                third parties whose trademarks, logos, brands and/or other Intellectual property appear on the
                merchandise/services being offered/displayed at the Speedway. Licensee agrees to permit IMS (and its
                representatives) access during normal business hours to Licensee's records pertaining to such licenses for the
                purpose of verifying the existence of such licenses. In the event Licensee cannot demonstrate that it or its
                contractors hold a proper license for any merchandise/services being offered/displayed at the Speedway,
                Licensee agrees that it shall cooperate with IMS to promptly remove such merchandise/services from the
                Speedway.




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                 d. Advertising. and Signs. Licensee and Artist shall have the right to solicit third-party sponsors to be sponsors
                 for the Event and to for and/or in connection with the Event, inciuding any sponsorship advertising of or during
                 the Event. Licensee shall provide IMS in advance a list of potential sponsors and advertisers, and IMS shall
                 have the right, exercisable by written notice within two (Z) days after Licensee's submission of such list to IMS, to
                 reject any sponsor or advertiser which would cause IMS to be in breach of its existing third party agreements. AII
                 sponsorship advertising and/or promotional displays and signage at the Speedway of any sponsors and
                 advertisers rejected by IMS pursuant to the preceding sentence are strictiy prohibited. IMS hereby pre-approves
                 the use of Artist's logos in advertising for the Event and otherwise at the Event.

                 e. Sweepstakes. Licensee shall not conduct a sweepstakes, raffle or similar activity in connection with the
                 Event without the pre-approval of IMS. Licensee must comply with all laws and obtain all permits with respect to
                 such activities and must provide IMS evidence thereof prior to the Event.

                f. Consumer Information, If Licensee collects any information (e.g., name, email address, mail address, mobile
                 number, etc.) in connection with any activity under this Agreement (e.g., via sweepstakes entry forms, if a
                sweepstakes is pre-approved by IMS, Event registration forms, etc.), provided that to do so will not result in
                Licensee's breaching any of its third party obligations, Licensee wil) share such information (collectiveiy
                "Consumer Information") with IMS within thirty (30) days after collection. Licensee shall use reasonabie efforts to
                ensure that IMS has all necessary right and power to use the Consumer Information in connection with its
                business. Without limiting any of its obligations under the foregoing, Licensee represents and warrants that: (a)
                IMS may utilize the Consumer Information in IMS's direct saies, marketing, communication or other outreach
                activities; (b) Licensee will provide express notice to each person of its intent to share the Consumer Information
                with IMS and that, upon receipt by IMS, the Consumer Information will be used and maintained by IMS pursuant
                to its privacy policy at www.indianapolismotorspeedway.com; (c) in connection with any Consumer Information
                that is an email address or a mobile number, Licensee will seek to obtain and maintain the applicabie consumer's
                express opt-in consent for IMS's use of the same or provide written notice to IMS if opt-in consent was not
                obtained; and (d) notwithstanding the foregoing or any of the provision in this Agreement to the contrary,
                Licensee will not provide IMS any Consumer Information for a child under the age of 13 years without IMS's
                express prior written approval.

           B.         PhotographyNideopraphy. Licensee and Artist may take still photos and video recordings of the Event for
           Licensee's and/or Artist's promotional use as well as internal historical purposes. AII other photography and
           videography arrangements must be pre-approved by IMS, such approval not to be unreasonabiy withheld, and shall
           be subject to execution of a Location Release. Other than pursuant to a Location Release, the commercial use or re-
           sale of any photographs or film footage taken on the grounds of the Speedway is prohibited, provided, however, such
           restriction shall not apply with respect to behind-the-scenes photos or video recordings. No broadcasts, photographs
           or videotapes shall imply a relationship between IMS and Licensee other than that permitted under this Agreement.

           9.         Insurance. Prior to the Event, Licensee shall obtain and maintain at its expense commercial general liability
           insurance covering the Event, including without limitation products and completed operations liability, and a contractual
           liability endorsement (and covering X,C and U hazards, where applicable; independent contractors; and use of
           pyrotechnics), for full coverage of claims to a limit of                          per occurrence and in the aggregate (the
           "Policy"); automobile liability insurance on all owned, non-owned and hired autos and equipment operated or otherwise
           used or displayed during the Event with coverage limits                               per occurrence; and workers'
           compensation in accordance with statutory requirements, Including employers liability insurance with a limit of
                            per claim (but in no event in limits less than those required by law and/or as set forth in the artists'
           riders, if any); and Event cancellation or postponement coverage in an amount sufficient to cover ticket refunds.
           Licensee shall deliver a certificate evidencing Licensee's compliance as to insurance coverage to IMS upon execution
           of this Agreement or the Event will be canceled, and no fees or deposits paid prior to the cancellation will be refunded.
           The certiflcate of insurance must demonstrate the following:

                    (a)      IMS Group (as defined below) is a certificate holder and is included as an additional insured under
                    the Policy;
                    (b)      The Policy specifically covers the Event and Licensee's obligations to IMS; and
                    (c)      The Policy provides coverage primary to any other coverage(s) available to IMS Group.

           The amount of insurance coverage required to be obtained by Licensee is minimum coverage, and it shall be
           Licensee's obligation to purchase insurance for full coverage of claims as it deems advisable in its business judgment
           to protect itself and provide indemnity to IMS Group based upon the activities to occur in connection with the Event.
           In addition, Licensee will require all subcontractors performing work in connection with the Event to include IMS
           Group as Additional Insureds for comprehensive general liability insurance carried by such subcontractors.


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            To support its indemnity obligations as set forth in Section 11(b), IMS shall maintain commercial general liability
            insurance                         per occurrence and in the aggregate. In addition, IMS shall have Licensee named
            as an additional insured for any claims asserted against Licensee that would, if successful, be covered by IMS's
            indemnity obligations as set forth in Section 11(b).

            10.       Representations and Warranties.

            a. Licensee represents and warrants that (i) Licensee has the right to enter into and fully perform every provision of
            this Agreement; and (ii) the person executing this Agreement on Licensee's behalf has the authority to do so.

            b. IMS represents and warrants that (i) IMS owns the Licensed Premises and that IMS has the right to enter into
            and fully perform every provision of this Agreement; and (ii) the person executing this Agreement on IMS' behalf has
            the authority to do so.

            11.      Indemnification.

            a. Licensee and Licensee's agents, representatives, employees, contractors and invitees and spectators
           ("Invitees") shall be provided with access to the Speedway (including both public areas and restricted areas of the
           Speedway) conditioned upon Licensee's compliance with this Section 11a. To the fullest extent possible, it is the
           intention of Licensee and IMS that the indemnities set forth below and the insurance coverage maintained by
           Licensee pursuant to Section 9 will provide liability protection to Licensee and IMS Group for claims arising out of
           Licensee's and its Invitees' presence at the Speedway during the Event. To the extent that Licensee's insurance
           holds IMS Group harmless, IMS Group does not require indemnity from Licensee. However, if and to the extent the
           coverage maintained by Licensee for the Licensee and IMS Group's benefit does not hold IMS Group harmless,
           Licensee shall indemnify, defend and hold harmless IMS Group for third party claims and liability arising in
           connection therewith, including costs and reasonable outside attorneys' fees, arising from (i) Licensee's or its
           Invitees' use of the Speedway or (ii) the negligence or willful misconduct of Licensee or its Invitees or (iii) Licensee's
           breach of this Agreement and/or its representations and warranties hereunder, provided the applicable claim is
           reduced to a final adverse judgment or settfed with Licensee's prior written consent, not to be unreasonably
           withheld, provided, however, the foregoing indemnity shall not apply with respect to cfaims resulting from the breach
           of IMS' representatfons, warranties or covenants under this Agreement or from the sole negligence or willful
           misconduct of the IMS Group or any member thereof. This Section shall survive expiration or termination of this
           Agreement. "IMS Group" means IMS, Indianapolis Motor Speedway Foundation, Inc., all relevant race sanctioning
           bodies, and the successors, assigns, officers, directors, owners, members, agents, affiliates and employees of each
           of them.

           b. IMS shall indemnify, defend and hold harmless Licensee and Artist and the respective successors, assigns,
           offlcers, directors, owners, members, agents, affiliates and employees thereof for third party claims and liability
           arising in connection therewith, including costs and reasonable outside attorneys' fees, arising from (i) the failure of
           IMS' Equipment, including, without limitation, any software, provided by IMS as set forth under "Included Services
           and Equipment to be provided by IMS" in Section 1 above in connection with the performance of IMS' obligations
           hereunder, or (ii) the sole negligence or willful misconduct of IMS or its employees or independent contractors
           engaged by IMS or any afflliated or related entity, or (iii) IMS' breach of this Agreement and/or its representations
           and warranties hereunder, provided the applicable claim is reduced to a final adverse judgment or settled with IMS'
           prior written consent, not to be unreasonably withheld. This Section shall survive expiration or termination of this
           Agreement.

           12.       Cancellation and Refund Policy. If Licensee cancels the Event in advance of the dates set forth in Section
           1 other than as a result of force majeure as set forth in Section 13 or IMS' negligence or fault, IMS shall be entitled to
           reimbursement of its actual out-of-pocket non-overhead expenses incurred specifically in connection with the Event
           prior to such cancellation as provided for in this Agreement. If for any reason the Licensed Premises becomes
           unavailabie in advance of the Event, IMS will promptly notify Licensee and use its best efforts to mitigate any adverse
           effect on Licensee or on the Event. If IMS cancels the Event other than as a result of force majeure as set forth in
           Section 13, in addition to any other rights or remedies that Licensee may have at law or in equity, IMS shall promptly
           refund to Licensee 100% of the License Fee and any and all fees and deposits paid by Licensee to IMS prior to the
           cancellation. Licensee assumes the risk of cancellation of all or part of the Event or any portion thereof during the
           Event for any reason not within IMS' control including without limitation inclement weather.

           13.      Force Maieure, The parties' obligation to perform hereunder is subject to acts of God, war, government
           regulations, disasters, strikes, civil disorder, curtailment of transportation facilities, or other emergencies provided
           the foregoing are beyond the control of the parties, making it inadvisable, illegal or impossible to hold the Event.



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            14.        Maintenance of the Licensed Premises.

                   a. Licensee shall maintain order at the Speedway and shall not conduct, and shall use its reasonable efforts
                   not to permit, any activities at the Speedway which (i) are prohibited by any applicable law, regulation, rufe or
                   ordinance; (ii) endanger the health or safety of any persons or property; or (iii) violate any rufes, regulations,
                   poficies, practices or procedures of IMS as amended from time to time by IMS in its sole discretion provided
                   Licensee has previously been notified thereof in writing.

                  b. Licensee shall use its good faith reasonabie efforts not to commit waste at the Speedway, damage
                  Speedway property or maintain or permit to be maintained a nuisance therein. Licensee shall not apply any
                  substance to any racing or other surFace without the consent of•IMS. Licensee shall present all licensed space in
                  a tasteful manner appropriate for Invitees of all ages. Following the Event, Licensee shall remove any and all
                  trash and debris, clean all surfaces, and otherwise return the Licensed Premises to the same condition, normal
                  wear and tear excepted, as the Licensed Premises was received by Licensee from IMS. Licensee shall be
                  responsible for any and all property damage and all clean-up costs to the Licensed Premises during or as a
                  result of the Event. AII debris shall be placed in containers furnished by IMS. No firearms or other weapons shall
                  be brought onto the grounds of the Speedway.

                  c. The integrity of any paved surFace of the Licensed Premises shall be maintained at all times, and Licensee
                  shall repair any damage to the surface at Licensee's sole cost. Penetration of the parking surface with tent
                  stakes or similar implements is prohibited.

                  d. AII displays and trailers are subject to IMS approval, not to be unreasonabiy withheld. IMS shall be deemed
                  to have approved any display provided such display would not cause IMS to be in breach of any of its third party
                  obligations or otherwise expose IMS to legal liability or material reputational harm. The Inclusion of any Artist
                  logo or other mark on or in connection with any dispiays or traifers shall not be deemed to expose IMS to
                  reputational harm. AII displays and trailers shall be free standing. Storage on top of any trailer located on the
                  Licensed Premises is prohibited. No one is permitted on top of a trailer located on the Licensed Premises.
                  Licensee shall be solely responsible for maintaining the Licensed Premises in a clean and tasteful manner during
                  the License Period, consistent with the standards of taste for similar concerts in the United States.

                  e. AII stages and other temporary structures including stage equipment, efevated piatforms, mobife/portabie
                  bleachers and fences must comply with all appiicable laws and regulations and may be subject to prior
                  inspection and approval by a governmental authority and IMS, provided IMS shall not unreasonably withhold its
                  approval and shall be deemed to have approved all stages and other temporary structures that are of a type and
                  quality consistent with that customarily used for simifar concerts in the United States.

                  f. AII merchandise to be sold in the Licensed Space must be displayed, stored and soid from a mobife trailer
                  unit or professional portabie tenting with proper display area and seif-contained storage.

                  g The boundaries of any display space identified in Section 1 may not be exceeded and shall contain
                  completefy all elements of the display, including but not limited to restroom facilities, generators, light towers,
                  storage units, office traifers, tractor/traifers, rubbish containers, personal vehicies, hoisting equipment, rigging,
                  stakes, entrance structures, guy wires. If the dimensions and location of the display space have been specified to
                  in Section 1 or subsequent to execution of this Agreement, they shall not be changed during installation. Motor
                  vehicles not a part of a display are only permitted in parking lots open to the public.

                  h. AII portions of the Event, inciuding viewing areas, exhibits, kiosks, interactive dispiays, and stages that are
                  open and avaifable to Invitees and shall be accessibie to individuais with disabilities, and shall comply with the
                  Americans with Disabilities Act (ADA):

                  I. Upon consent from IMS, not to be unreasonably withheid, Licensee may "plug in" customary power and/or
                  telecommunications cords into currentiy existing standard household power outlets (120 volt convenience
                  receptacles) or currentiy existing standard telephone jacks. Any equipment, device or system requiring
                  connections to other services must be connected and disconnected by IMS.

              j. Operation of the Event shall immediatefy cease if so instructed by IMS or public safety officials acting in
              good faith due to severe weather materially threatening the attendees of the Event or otherwise based on
              legitimate concern for pubiic safety. Licensee shall be prepared to lower, dismantie, and/or secure as required
              any parts of the display or vendor area that are unstable, susceptibie to damage or otherwise pose an elevated
              hazard during high winds, lightning, and heavy rain. Licensee shall insure that display (s fabricated and installed




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                  in such a manner as to be quickly disassembled, lowered and/or secured as required to insure the safety of the
                  general public during severe weather.

                  k. IMS safety personnel will be onsite during the Event to provide security for the Event and its attendees. If
                  Licensee requires additional security for the Event, IMS will assist in making these arrangements through an
                  IMS-approved security firm at Licensee's additional expense.

           15.        Miscellaneous.

                 a. Assignment. Licensee may not assign or transfer any of its rights or obligations under this Agreement
                 without the prior written consent of IMS.

                 b. Entire Agreement. This Agreement constitutes the entire understanding between the parties to this
                 Agreement with respect to the subject matter of this Agreement and shall be deemed to supersede all prior
                 agreements, whether written or oral, and the terms and provisions of any such prior agreements shall be deemed
                 to have been merged into this Agreement. Notwithstanding the foregoing, IMS and Licensee hereby
                 acknowledge and agree that they intend to enter into, and are currently negotiating, an overall exclusive
                 agreement between each other pursuant to which Licensee would be the exclusive promoter of music-related
                 events at the Licensed Premises for a term of four (4) years from the date of the Event, with an exclusive six (6)
                 month first negotiation right to extend such term (the "Overall Agreement"). At such time, if ever, that such
                 Overall Agreement is entered into, this Agreement shall be deemed to be superseded thereby (except as may be
                 expressly provided otherwise in the Overall Agreement), and the Event shall be deemed to have been
                 undertaken pursuant to the terms and conditions of the Overall Agreement.

                 c. Modification and Waiver. No supplement, modification or amendment of this Agreement shall be binding
                 unless executed in writing by both parties. No waiver of any breach or violation of any of the provisions of this
                 Agreement shall constitute or shall be deemed to constitute a waiver of any other breach or violation of any
                 provision of this Agreement, whether or not similar, nor shall any waiver constitute a continuing waiver. No
                 waiver shall be binding unless executed in writing by the party making the waiver.

                 d. Public Statements and Press Releases. The Licensee agrees to obtain IMS's pre-approval, not to be
                 unreasonably withheld or delayed, and to coordinate the content and timing of all public statements and. press
                 releases concerning the relationship governed by this Agreement.

                  e. Notice. AII notices required to be given under this Agreement or which the parties may desire to give under
                 this Agreement shall be in writing and (a) hand delivered personally; or (b) delivered by facsimile transmission if
                 receipt is confirmed to the party whom notice is to be given; or (c) addressed and sent by certified or registered
                 mail, postage prepaid and return receipt requested to the parties. Notices to Licensee shall pe directed to the
                 addresses provided on Page 1, to the attention of the Head of Business Affairs and to the Chief Financial Officer.
                 Copies of all notices to Licensee shall be simultaneously sent to Grubman Shire & Meiselas. P.C., 152 West 57'h
                 Street, New York, NY 10019, Attention: Donald R. Friedman, Esq., facsimlle 212-554-0444. Notices to IMS
                 shall be directed to President 4790 W. 16th Street, Indianapolis, IN 46222, facsimile 317-492-6462, with a copy
                 to General Counsel, 4790 W. 16th Street,. Indianapo/is,' IN 46222, facsimile 317-492-6490. If either party wishes
                 to alter the address to which notices to it are sent, it may do so by providing the new address, in writing, to the
                 other party by one of the methods set forth in this Section 15(f). AII notices addressed in accordance with this
                 Agreement shall be effective when received if delivered by mail or, if personally delivered, the date on which
                 delivery is made.

                 f. Remedies. AII rights and remedies provided in this Agreement shall be cumulative, and shall not be
                 exclusive of one another or of any remedies available at law or in equity. Under no circumstances shall either
                 party be liable for consequential, special or incidental damages.

             g, Trademarks. Except as set forth elsewhere in the Agreement, this Agreement does not grant Licensee any
             right or license to use any trademarks, service marks, copyrights or other intellectual property rights of IMS other
             than to identify the location of the Event, and any such use by Licensee is strictly prohibited. If IMS grants
             Licensee a license in Section 1 or elsewhere in the Agreement, the Licensee shall have a royalty-free, non-
             exclusive, limited, non-transferable license to use the specified Event Mark or IMS marks (' IMS Marks") in the
             United States for specified purpose requirements set forth in Section 1 or elsewhere in this Agreement. AII
             artwork, design and premiums using the IMS Marks are subject to any applicable approval rights of IMS in
             accordance with the terms of this Agreement in each instance. The manufacturer of any premium bearing an IMS
             Mark must be an officially-approved licensee of IMS. Requests for the IMS Marks and approval shall be



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                  submitted to Manager of Licensing, Indianapolis Motor Speedway, 4790 West 16"' Street, Indianapolis, Indiana
                  46222, (317) 492-6792.

                  h. Taxes. IMS shall notify Licensee on a timely basis of the correct rates for calculating Licensee's taxes to be
                  assessed on all amounts received by Licensee in respect of ticket sales for the Event to enable Licensee to
                  prepare and timely file any and all tax returns or reports required to be fiied in respect of any taxes owed by
                  Licensee in connection with ticket sales for the Event.

                  i.   Compliance with Law. Licensee shall obtain afl permits and comply with all laws applicabfe to its activities
                  hereunder.

                    IN WITNESS WHEREOF, each party acknowledges that a duly authorized representative of such party has
           executed this Agreement as of the date set forth below, and acknowledges that such party has read, understands
           and agrees to the terms and conditions of this Agreement.




           INDIANAP IS MO R S EDWAY ` C                                            LICENS : L ~L E C.

           BY :                                                                    BY                    ,      ~

           Printed: J, Do las Boles                                               Printed: Charles C. Ciongoli

           Title: President                                                             e: Executive VP & CFO

           Date;




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                                   INDIANA COMMERCIAL COURT

    STATE OF INDIANA )                    1N THE MARION SUPERIOR COURT
                     )SS:
    COUNTY OF MARION )                    CAUSE NO.

    INDIANAPOLIS MOTOR SPEEDWAY, LLC, ~

                     Plaintiff,

           V.


    GLOBAL LIVE, INC. and NEW YORK
    MARINE GENERAL INSURANCE COMPANY
    a/k/a PROSIGHT SPECIALTY INSURANCE
    GROUP, INC.,

                     Defendants.

                 NOTICE OF EXCLUSION OF CONFIDENTIAL INFORMATION
                THAT IS NOT NECESSARY TO THE DISPOSITION OF THE CASE

           Contemporaneous with the filing of this notice, Plaintiff has omitted confidential

    information in accordance with Administrative Rule 9(G). Pursuant to Administrative Rule

    9(G)(5)(b)(ii)(a), Plaintiff provides this notice that the omitted confidential. information "is not

    necessary to the disposition of the case" and, therefore, "the excluded Court Record need not be

    filed or tendered in any form and only the Public Access version is required." Admin. Rule

    9(G)(5)(b)(i).

       Document to Be Excluded from Public               Administrative Rule 9(G) grounds upon
                     Record                                 which exclusion is authorized

    Pages 9 and 10, titled "Schedule A," to Exhibit Administrative Rule 9(G)(2)(b); Ind. Code
    A ofthe Com laint                               §§ 24-2-3-2, 24-2-3-6
Case 1:17-cv-01743-JMS-MPB Document 1-1 Filed 05/25/17 Page 31 of 131 PageID #: 37




                                            Respectfully submitted,

                                            ICE MILLER LLP


                                            /s/ Olea Voinarevich
                                            Angela P. Krahulik, Atty. No. 23036-49
                                            Olga Voinarevich, Atty. No. 32188-48

                                            Attorneys for Plaintiff, Indianapolis Motor
                                            Speedway, LLC

    ICE MILLER LLP
    One American Square, Suite 2900
    Indianapolis, IN 46282
    (317) 236-2100




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   STATE OF INDIANA                                        INTHE MARION SUPERIOR COURT

   COLJNTY OF NIAIUON                                      CAUSE NO.
                                                                                       4.9010    17 01 CT
   PAMELA SHEPARD aild
    WILLIAM SI-3EPAR-D.,

             Plaintiffs,                                   JURY I'RIAL DEK"D




   INDIANAP'01,11.8 MOTOR
   SPLED WAY,LLC                                                                                          2016

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                                        CONITLAtNT FOR DAMAGE2

             Come -now the PlaintilTs, Pamela aad William Shepai-d, and for thtir cause ofactioii

   againsE Defendant, IndianaP olis Motor Spocdw;ay, LLC, state as follows.:

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             2.     , Oti orabout J uly 4, 2015, Plaintiff Paniel a Shepard, was, a business i'livi tue,()f the

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             3.       At qa1d tiine aiid place, Plaintiff.Parricla Shepardfiell afler striking a conecalod

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                                                                                           EXHIBIT      C
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           7.      As a proximate result of Defendant's careless and negligent acts and/or omissions

    Plaintiff, Pamela Shepard, has suffered the following damages:

                   a.     severe physical injuries;

                  b.      pain and suffering;

                  C.      emotional distress;

                  d.      reasonable medical expenses; and

                  e.      disfigurement.

          8.      That as a direct and proximate result of Defendant, Indianapolis Motor Speedway,

   LLC's careless and negligent acts and/or omissions, Plaintiff William Shepard has suffered the

   following damages:

                  a.      he has been deprived of the love, care, affection and services of his wife;

                          and

                  b.      he has had to provide for the nursing care and assistance of his wife.

          WHEREFORE, Plaintiffs, by Counsel, demand judgment against the Defendant,

   Indianapolis Motor Speedway, LLC, in an amount which will fully and fairly compensate them

   for their injuries and damages, for their costs, for TRIAL BY JURY, and for all other just and

   proper relief in the premises.

                                                        Respectfully submitted,



                                                        Merry Fou025-49   n
                                                        Attorney No.
                                                        THE FOUNTAIN LAW FIRM
                                                        10401 North Meridian, Suite 209
                                                        Indianapolis, Indiana 46290
                                                        (317) 423-4242
                                                        Attorney for Plaintiffs
Case 1:17-cv-01743-JMS-MPB Document 1-1 Filed 05/25/17 Page 35 of 131 PageID #: 41
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                                     Marion Superior Court, Civil Division 1                                       Clerk
                                                                                                 Marion County, Indiana



                                   INDIANA COMMERCIAL COURT

    STATE OF 1NDIANA )                     IN THE MARION SUPERIOR COURT ,.
                     )SS:
    COUNTY OF MARION )                     CAUSE NO.

    INDIANAPOLIS MOTOR SPEEDWAY, LLC, ~

                   Plaintiff,

           V.

    GLOBAL LIVE, INC. and NEW YORK
    MARINE GENERAL INSURANCE COMPANY
    a/k/a PROSIGHT SPECIALTY INSURANCE
    GROUP, INC.,

                   Defendants.

             IMS'S COMPLAINT AGAINST GLOBAL LIVE INC. AND NEW YORK
               MARINE GENERAL INSURANCE COMPANY A/K/A/ PROSIGHT
                        SPECIALTY INSURANCE GROUP, INC.

           Plaintiff, Indianapolis Motor Speedway, LLC ("IMS"), by counsel, for its Complaint

    against Defendants, Global Live, Inc. ("Global Live") and New York Marine General Insurance

    Company a/k/a ProSight Specialty Insurance Group, Inc. ("ProSight") (collectively,

    "Defendants"), alleges and states:

                                PARTIES, JURISDICTION AND VENUE

           1.      IMS is a limited liability company organized under the laws of the State of

    Indiana, with its principal place of business in Marion County at 4790 W. 16th Street,

    Indianapolis, Indiana 46222.

           2.      At all relevant times, Global Live was a domestic corporation with its principal

    place of business located at 1100 Glendon Avenue, 21St Floor, Los Angeles, California 90024.

           3.      At all times relevant, ProSight was a domestic corporation with its principal place

    of business located at 9 Maiden Lane, 27th Floor, New York, New York 10038.
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           4.      This Court may exercise personal jurisdiction over Defendants because

    Defendants have transacted business in the State of Indiana, have entered into agreements

    covering performance of duties in the State of Indiana, and have caused harm in the State of

    Indiana.

           5.      Venue is also proper in this Court because a substantial part of the events or

    omissions giving rise to the alleged claims at issue occurred in Marion County.

                                                 FACTS

                                 Contracts between IMS and Defendants

           6.      On or about April 6, 2015, IMS and Global Live entered into a valid and

    enforceable Special Event Agreement (the "Event Agreement"). A true and correct copy of the

    Event Agreement, with trade secret and commercially and financially sensitive information

    redacted, is attached hereto as Exhibit A.

           7.      The Event Agreement allowed Global Live to host a concert featuring the musical

    group professionally known as "The Rolling Stones" at the Indianapolis Motor Speedway on or

    about July 4, 2015 (the "Event")

           8.      The Event Agreement set forth obligations and responsibilities of the parties in

    connection with the Event.

           9.      Global Live's contractual duties included, inter alia, organizing, hosting, and

    sponsoring multiple aspects of the Event, including but not limited to marketing expenses,

    ticketing costs, event production, labors costs, permits, and event insurance. See Ex. A, at 1-3.

           10.     Specifically, Global Live was expressly obligated to provide coverage for all

    claims arising in connection with the Event. Ex. A, at 4, 19.




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               11.   The Event Agreement repeatedly refers to the concert attendees as Global Live's

    "invitees." See Ex. A, at 4; ¶ 11.

               12.   Under the pertinent terms of the Event Agreement, Global Live was required to

    "obtain and maintain at its expense commercial general liability insurance covering the

    Event ... for full coverage of claims to a limit of at least             per occurrence and in the

    aggregate (the "Policy")." Ex. A, at 4, ¶ 9(emphasis added).

            13.      According to Paragraph 9(b) of the Event Agreement, "[t]he Policy specifically

    covers the Event and [Global Live's] obligations to IMS." Ex. A, at 4.

            14.      At all relevant times, ProSight was Global Live's commercial general liability

    insurer.

            15.      As required under the terms of the Event Agreement, IMS was added as an

    additional insured to Global Live's Commercial General Liability ("CGL") insurance policy by a

    Certificate of Liability Insurance issued by ProSight for CGL policy number GL 201500004535

    with a period of July 1, 2015 to July 6, 2015 (the "Policy"). A true and correct copy of the

    Certificate of Liability Insurance, with trade secret and commercially and financially sensitive

    information redacted, is attached as Exhibit B.

            16.      To date, IMS has never been provided with a copy of the complete CGL Policy.

            17.      The Event Agreement further specifies that the coverage under the Policy must

    explicitly include IMS "as an additional insured under the Policy" and indicates that the coverage

    provided to IMS is to be "primary to any other coverage(s) available to IMS." Ex. A, at 4, ¶ 9(a),

    (c).

               18.   The Event Agreement further specifies that "[t]he amount of insurance coverage

    required to be obtained by [Global Live] is minimum coverage, and it shall be [Global Live's]



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     obligation to purchase Insurance for full coverage of claims . .. to protect itself and provide

     Indemnity to IMS Group based upon the activities to occur in connection with tlie Event." Ex. A,

    at 4, ¶ 9 (emphasis added).

              19.   The Indemnity provision of the Event Agreement provides as follows:

                    To the fullest extent possible, it is the intention of [Global Live]
                    and IMS that the Indemnities set forth below and the insurance
                    coverage maintained by [Global Live] pursuant to Section 9 will
                    provide liability protection to [Global Live] and IMS Group for
                    claims arising out of [Global Live]'s and its invitees' presence at
                    the Speedway during the Event... [I]f and the extent the coverage
                    maintained by [Global Live] ... for IMS Group's benefit does not
                    hold IMS Group harmless, [Global Live] shall indemnify, defend
                    and hold harmless IMS Group for third party claims and liability
                    arising in connection therewith, including costs and reasonable
                    attorneys' fees arising from (i) [Global Live's] or its Invitees' use
                    of the Speedway or (ii) the negligence or willful misconduct of
                    [Global Live] or its Invitees. . .

    Ex. A, at 5, ¶ 11(a) (emphasis added).

              20.   To the extent there are any known or unknown claims arising out of the Event,

    ProSight is contractually obligated to provide a defense and indemnity to IMS, as its insured,

    under the Policy.

              21.   Moreover, to the extent ProSight fails to provide the required defense and

    indemnity to IMS, Global Live must satisfy its duty to defend and indemnify IMS from any such

    claims.

                                         The Underlyin2 Lawsuit

              22.   On or about July 4, 2015, Global Live hosted the Event at Indianapolis Motor

    Speedway.

              23.   Upon information and belief, non-parties, Pamela Shepard and William Shepard

    (collectively, the "Shepards") attended the Event.



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            24.     Upon information and belief, the Shepards tripped over a curb and fell while

     walking in the-tunnel at the Indianapolis Motor Speedway, exiting the Even"t.

            25.    Upon information and belief, Mr. Shepard sustained minor injuries to his leg.

            26.    Upon information and belief, Mrs. Shepard sustained injuries to her left elbow

    and right shin, which required surgical intervention and other treatment.

            27.    On or about December 28, 2016, the Shepards filed a Complaint for Damages

    against IMS (the "Shepards' Complaint") in an action now pending in Marion County, Indiana

    entitled Pamela Shepard and William Shepard v. Indianapolis Motor Speedway, LLC, Cause No.

    49D10-1701-CT-000393 (the "Underlying Lawsuit"), alleging IMS is liable to the Shepards for

    damages arising from the allegations set forth in the Shepards' Complaint. A true and correct

    copy of the Shepards' Complaint is attached hereto as Exhibit C.

            28.    The Shepards' Complaint alleges that the Shepards' claims arise out of the

    incident described in Paragraphs 24 through 26 above and further alleges that, by failing to

    provide adequate illumination for business invitees exiting the Event, IMS breached its duty of

    care to the Shepards (the "Claims")

            29.    While IMS denies _the aforementioned allegations and any liability on behalf of

    IMS, the Claims and the Underlying Lawsuit are squarely within the scope contemplated by the

    Event Agreement between IMS and Global Live and the Policy issued by ProSight (as evidenced

    by the Certificate of Liability Insurance issued to IMS by ProSight).

            30.    Accordingly, because ProSight was obligated to provide insurance coverage

    protection for all "claims arising out of [Global Live]'s and its invitees' presence at the

    Speedway during the Event[,]"and due to IMS's status as ProSight's additional insured, ProSight




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     is required to defend the Claims and to indemnify IMS for any damages in connection with the

     claims in"the Underlying Lawsuit. See Ex. A.                        %

            31.    Moreover, to the extent ProSight refuses to defend the Underlying Lawsuit and

     indemnify IMS in connection with the Underlying Lawsuit and/or the Claims, Global Live is

    contractually obligated to do so itself.

            32.    IMS notified Global Live and ProSight of the Shepards' Claims within days of the

    Event and ProSight acknowledged the receipt of said information. However, to date, IMS has

    contacted Global Live and/or ProSight regarding the Claims multiple times over a period of more

    than 18 months, but has not received any substantive response.

            33.    The Underlying Lawsuit has continued, and is still pending in Marion County,

    and IMS is forced to defend itself as to the Claims in Global Live's and ProSight's absence.

           34.     Despite numerous demands to assume their responsibilities, Defendants have

    committed multiple breaches of the Event Agreement and/or the Policy by failing to defend,

    indemnify, and hold IMS harmless in connection with the Underlying Lawsuit, as they were

    expressly obligated to do under the terms of the Event Agreement and the Policy.

           35.     IMS has fulfilled all of its duties, conditions, and prerequisites to coverage under

    the Event Agreement and the Policy with respect to the Claims and/or the Underlying Lawsuit.

           36.     IMS is thus entitled to an award of all amounts and all expenses and costs

    incurred as a result of IMS's defense of the Underlying Lawsuit and payment for the same on an

    as-incurred basis going forward, plus interest, attorneys' fees, court costs, and expenses IMS

    incurs in the Underlying Lawsuit (including any amount paid by vendor or in settlement), and a

    declaration pursuant to Indiana Code § 34-14-1 et seq. that Defendants are obligated to provide




                                                    :
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     insurance coverage, indemnify, and hold IMS harmless in connection with the Underlying

     L-awsuit and/or the Claims.


                                                     COUNTI

                                  BREACH OF CONTRACT AGAINST PROSIGHT

              37.    IMS restates and incorporates the allegations of paragraphs 1 through 36 above as

     if fully set forth herein.

              38.    IMS and ProSight are parties to the Policy, which is a valid and enforceable

    agreement.

              39.    As part of the Policy, IMS is entitled to coverage, defense, and indemnity from

    ProSight for any claims that have been or may be asserted against IMS relating to the Event.

              40.    Upon information and belief, no terms or exclusions in the Policy unambiguously

    exclude coverage for the Underlying Lawsuit and the Claims asserted in the Underlying Lawsuit

    are within the scope of coverage contemplated by the Event Agreement and the Policy.

              41.    As such, ProSight has a duty to provide coverage, defend, and indemnify in the

    Underlying Lawsuit.

              42.    Despite numerous demands to comply with the terms of the Policy, ProSight has

    failed to provide coverage, to defend the Underlying Lawsuit, or to acknowledge its duties to

    IMS for any and all claims related to the Event, including the Claims asserted in the Shepards'

    Complaint, which constitutes a rnaterial breach of ProSight's duties under the Policy.

              43.    IMS has been, and will continue to be, damaged by ProSight's breach of the

    Policy.

              44.    As a result, IMS is entitled to direct, compensatory, consequential, and incidental

     damages.


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            45.     Upon information and belief, all conditions precedent to coverage under the

    Policy have been satisfied or waived and no exclusion-within the Policy precludes coverage for

    the Underlying Lawsuit and the Claims.


                                                   COUNTII

               PROSIGHT'S BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

            46.     IMS restates and incorporates the allegations of paragraphs 1 through 45 above as

    if fully set forth herein.

            47.     IMS and ProSight are parties to the Policy, executed in favor of IMS (the insured

    under the Policy), which is a valid and enforceable policy of insurance.

            48.     Indiana law imposes upon insurers; such as ProSight, an obligation of good faith

    and fair dealing with their insureds.

            49.     ProSight's obligation of good faith and fair dealing includes an obligation to

    refrain from causing an unfounded delay in making payment; making an unfounded refusal to

    pay policy proceeds; exercising an unfair advantage to pressure an insured into settlement of a

    claim; and, deceiving the insured.

            50.     Despite IMS's numerous attempts to obtain cooperation from ProSight with

    regard to ProSight's obligations under the Policy, ProSight has refused to acknowledge IMS's

    right to coverage, defense, and indemnity under the Policy, has failed to respond to IMS's tender

    of the claim, and failed to disclaim or accept coverage or to provide IMS a defense in connection

    with the Underlying Lawsuit.

            51.     As set forth herein, IMS has been forced to defend itself against the Underlying

    Lawsuit because ProSight wrongfully failed to provide it a defense under the Policy.




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            52.     IMS has and continues to incur costs, expenses, and attorneys' fees due to

     ProSight's breaches. of its duties to its policyholder, and failure to provide coverage and defend

     IMS in the Underlying Lawsuit.

            53.     ProSight's breaches of its fiduciary duties to its policyholder are such that

     punitive damages, including treble damages, and attorneys' fees are appropriate.

                                                   COUNT III

                            DECLARATORY JUDGMENT AGAINST PROSIGHT

            54.     IMS restates and incorporates the allegations of paragraphs 1 through 53 above as

    if fully set forth herein.

            55.     The above allegations describe an actual and justiciable controversy between IMS

    and ProSight regarding their rights and obligations under the Policy.

            56.     ProSight is obligated to .provide IMS a defense and indemnification for claims to

    which the insurance applies, including the Claims asserted in the Underlying Lawsuit.

            57.     Upon information and belief, no terms or exclusions in the Policy unambiguously

    exclude coverage for the Underlying Lawsuit. The Claims asserted in the Underlying Lawsuit are

    within the scope of coverage contemplated by the Policy

            58.     ProSight has wrongly failed to abide by its obligations to defend and indemnify

    IMS in the Underlying Lawsuit.

            59.     The issues in this action are ripe for decision and relate to the construction and

    validity of the Policy, including the rights of IMS to be provided a defense in the Underlying

    Lawsuit.

            60.     IMS therefore seeks a declaration that ProSight is obligated to provide insurance

    coverage for any and all claims raised in the Underlying Lawsuit.



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             61.     IMS further seeks a declaration that ProSight is obligated to otherwise fully defend,

     indemnify and hold IMS harmless for any and all claims made or otherwise made in the Underlying

     Lawsuit up to the applicable limits ofthe Policy.

                                                     COUNTIV

                              BREACH OF CONTRACT AGAINST GLOBAL LIVE

             62.     IMS restates and incorporates the allegations of paragraphs 1 through 61 above as

     if fully set forth herein.

             63.     IMS and Global Live are parties to the Event Agreement, which is a valid and

    enforceable agreement.

             64.     Under the terms of the Event Agreement, Global Live was obligated to procure

    insurance for any claims relating to the Event, including the Claims raised in the Underlying

    Lawsuit. The coverage was to be primary to any other coverage(s) available to IMS.

             65.     However, if Global Live's insurance fails to provide coverage, defense, and

    indemnification for claims arising from the Event, including the Claims raised in the Underlying

    Lawsuit, Global Live is obligated to do so itself.

        -    66.     ProSight has failed to comply with its obligations and to provide defense and

    indemnification to IMS as its insured, as evidenced by the Certificate of Liability Insurance.

             67.     Accordingly, under the Event Agreement, IMS is entitled to reimbursement of its

    defense and indemnity from Global Live for any claims that have been or may be asserted

    against IMS relating to the Event, including the Claims alleged in the Underlying Lawsuit, as

    well as all interest, attorneys' fees, court costs, and expenses IMS incurs in the Underlying

    Lawsuit (including any amount paid by vendor or in settlement).




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            68.    Despite numerous demands to comply with the terms of the Event Agreement,

     Global Live has breached the Event Agreement by failing to defend the Underlying Lawsuit and"

     failing to hold IMS harmless for the Claims raised in the Underlying Lawsuit, which constitute

    material breaches of the Event Agreement.

            69.    Under Indiana law, the disclaimer of a contractual duty is a breach of contract

    even if the time specified in the contract for performing the duty has not yet arrived.

            70.    IMS has been, and will continue to be, damaged by Global Live's breach of the

    Event Agreement.

            71.    As a result, IMS is entitled to direct, compensatory, consequential, and incidental

    damages, including its fees and costs in the Underlying Lawsuit and in this action.

           72.     Upon information and belief, all conditions precedent to this action have been

    waived or have been fulfilled.

                                        PRAYER FOR RELIEF

           WHEREFORE, IMS respectfully requests that the Court grant it the following relief:

           A.      A declaratory judgment that ProSight is obligated to provide coverage, including

    both defense and indemnity, in connection with the Underlying Lawsuit; Immediate payment for

    any and all amounts and all expenses and costs incurred as a result of IMS's defense of the

    Underlying Lawsuit and payment for the same on an as-incurred basis going forward, plus all

    interest, attorneys' fees, court costs, and expenses IMS incurs in the Underlying Lawsuit;

           B.      Immediate payment for any and all amounts and all expenses and costs incurred

    as a result of IMS's defense of the Underlying Lawsuit and payment for the same on an as-

    incurred basis going forward, plus all interest, attorneys' fees, court costs, and expenses IMS

    incurs in the Underlying Lawsuit;



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             C.    A judgment in IMS's favor and against the Defendants in an amount that will

     fully compensate IMS for its, .damages and losses, including compensatory, consequential and

     incidental damages and prejudgment interest, including but not limited to an award of costs, fees

    (including attorneys' fees), treble damages, punitive damages, and litigation expenses in this

    action, with interest; and

            D.     For all such other relief that is just and proper in the premises.

                                                          Respectfully submitted,

                                                          ICE MILLER LLP

                                                          /s/ Olga Voinarevich
                                                          Angela P. Krahulik, Atty. No. 23036-49
                                                          Olga Voinarevich, Atty. No. 32188-48

                                                          Attorneys for Indianapolis Motor Speedway,
                                                          LLC

    ICE MILLER LLP
    One American Square, Suite 2900
    Indianapolis, IN 46282
    (317) 236-2100




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              dl Public Announcemants.lMS shal/ make avalJable, llmJled use of the publlo address system. Annduncers and all
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             of opemtlon forgolf carts at the tlme of rodee►ning tha GC Votrcher fora GC Perm/f. All golf ca►ts operated on the
             premises of the Speedway, regardless of who owns the golf cart(s), must be reglstered wJth IMS,

            gl FIreworks, To be provlded by IMS at Licensee's expanse, !n accordance w/lh a budget to be mutually agraed In
            advance, provided the amount charged to Llconsee sltall be IMS' actual cost therefor on a`pass-thru"busls,
            excluding any overhead clrarge and wlthout mark-up. IMS eolurow/edges that ln addillon to Ihe /Ireworlcs dlsplay to
            witich the procedJng sentence applles, Arllst shall be entitled to Include a preworks display as part ofArtlst's concert,
            and that IMS w111 mako avallable at no cost the se►vlces of a supervlsory pyiotoohnlclen tn connacllon therewlth.
            L2 Pencing, To be provlded by IMS at Llcensea' expense, In occordance wllh a budgot to be mutually agreed In
            advance, provlded the amount charged to Llcensee shall be IMS' aolual cost therefor on a 'pass-thru" basls,
            exc/uding any overhead charga and withotrt made up,
            11 Lfryht towers. To ba provlded by 1MS at Llcensee's expense, In accordance wlth a budget to be mutually agreed
            In advance, provlded lhe amotint charged to Llcensee shall be IMS' actual cost thorefor on a 'pass-lhru"besls,
            excluding any overhead clherge and wllhout mark-up,
            Additlonal 8ervices and Equlpment: If at Llcensee's request IMS facilitates on behaff of Licensee a lhlyd party
            rental pf equlpment or engagement of thtrd party services, Licensee will be responslble for the aclual Involce price of
            such rental or services upon presenlallon of the applicable Invoice vrlth respect lhereto at seltlemenl, fVobvllhstanding
            anything contalned In this Agraement to Ihe contrary, subJect to coordlnatlon.wlth IMS personnel, IMS owned or
            leased equipment will be made availabie for Licensee's use In connection wilh the Event at no ciiarge.

           Addi(ional responsibilitles of Licenseo:

           g2 At no cost lo IMS, Licensee agrees to provlde IMS vilth a 607C 60' dlsplay area In the Plaza.
           bl AIl labor costs not ofhetwlse provlded for above, Jncltrding, wlfhout Ilmltation, tl►e sosts of slage hands, dgging
           personnel, foaders and unloaders,

           1 Tlcketing costs ftrcluding credlt card fees.

           d1 Event Prodtrctlon, /ncluding, w/thout Ilm/latlon, staging, platforms, risers, arid barrlcades, fncludingg the equ/pment
           and costs therefor except as otherwlso provided /n thls Agreement.
           •9) Eventlnsurance as set forlh belovi
           Q Pennlis, If applicable, wJth respecl to fha.Event,
           glAc/vertlsing and marJseting expenses wlth respect to the f=vent.




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             Payment;.The Llcense Fee and Other Fees are due and payabie upon setliement of the Event, wh(ch shall lake
             place wittiin flve (6) business days follovAng the cornpielion of tear down.

             2.       Llcense. IMS grants to Llcensee a Ilnilted, non-transferable and non-exciusive license 'L cense" to use
             designated areas dur(ng the Event and the set up and tear down periods for the Ebent as set fdrlh above In
             accordance for cuslomary standards for comparable events In Ihe Uniled States. Thls Agreement does not creale nor
             convey any legal title, leasehold or olher legal, equilable or benefiolal properly interest In or to the Speedway.




           4.        Servtces and Eauinment, IMS shalt provide orarrange for all Included Servtces and Equipment as set forih
           above, and any Addllional Servlces and Equlpment requesled by Licenses and agreed to by (MS. Thlyd party •
           vendors and servtce provlders wlth respect to Additional Services and Equipinenl requested by Lfcensee shali be
           subject to Licensee's and IMS' mutual approval, not to be unreasonably wllhheld, and any such services and
           equlpment must be of "first class" qnality.
           6.      Open and Close Times and Tear pown. Unloss specifled In Seclion 1, open and ciose times and tear
           down limes shall be mulually determined by IMS and Llcensee.

           6.        Laps. ln Ihe event that persons are parilcipating in hot taps or track laps ihal are approved by IMS Ihey must
           be at least eighteen (18) years old; possess vaild, government-issued photo Identificatlon; and execute All IMS
           requlred consent and Ilability releases.

                   C om m e ro le I 1'ra n s a c t lon s,

               ~   Generally. Unless otheiwise set forth In Secllon 1 or this Sectfon 7. IMS prohibits (1) all commarclal
              transactions at the Speedway, lncluding but not Ilmlled lo lhe sale of food, alcohollc and nonalcoholic beverages,
              and merchandlse and (li) all dlsiribution of producls (fncludtng donated producls), samptes andlor premiums
              (non-saleable articles beaPing lrademarks, logos or adveAlsing used to promote or publtcize any product or
              service), Llcensee shall ensure that tts Inviteas (as defined In'Secilon 11). are aware of and cornply tvith the
              terms and conditlons regarding commercial iransactions !n thls Agreement

              I    Food and Boyeraces, IMS shail arrange for Levy to provlde food and beverage concesslons specifled In
              Section 9 at IMS deslgnated concesslons and food and beverage truck areas, and all hospitallly food and
              boverages shall be provided by Levy or IMS-approved caterers al Licensee's additional cost.

               c lvterchandise. Llcensee and Its contractors may sell Evenl merchandise (n IMS designated areas so long as
              the Event merchandtse does not dlspiay any IMS trademark. Notwitlistanding the foregoing, Llcensee and Its
              contractors shall be entitled lo•offer for sale t-shlris and other merchand(se dlsplaying designs that Idenllfy the
              Event by the name of the venue. Unless set forih in Section 1. no olher sale of inerchandlse by Licensee or its
              contractors ls parmiited, Licensee represents, warrante and covenants iliat, prlor to lhe Evenl and conilnuing
              throughout the Eveni, Licensee or Ils contractors shall secure and malntain a proper license from any and all
              third parties whose trademarks, logos, brands and/or olher intellectual properly appear on the
             •merchandise/services boing offered/dlsplayed af ihe Speedvray, Llcensee agrees to permit IMS (and Its
              representatives) access during normal business hours lo Licensee's records perta(ning to such llcenses for 1he
              purpose of verifying lhe existence of such licenses. In lhe event Licensee cannot demonstrate that it or Its
              contractors hofd a proper ficense for any merchandlse/servlces being offeredfdisplayed at Ihe Speedway,
             Llcensee agrees that It shall cooperate tvitti IMS to prompily remove such merchandise/servlces from the
             Speedway,




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             8.        Eli otociiapi i yNIdecoqr;lIplzv, Licensee njid ArUst may Inka efUlPUIPOS
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             be oubject to oxocution of a Locallon Refeaso. Olhor ttian pursuint to ti L           n Reloa'so, the commerclat use br je-
             sale bf ariy pho(ographs or film footage taketi on the qe6unds of the Speedway la prohibited, proyfdod, however, such
             restricUon aliaH 6ol aprply Oitti respect to behind-lho-scones photos or vtcluo recorditigs. No broadcWs, pilotograptis
             or v1dootaii6s shbil tmply p ralationsfilli between IMSa nd 1.1conse a other Ih aii lhdt permitted xitider Ihis Agre ement.
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                             nd Event cancellation or postponement covarago hi an ninouni
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           Ucensee shall de   'livei a catlificato.evIdencIng Llcentoo'n compliance aii          once coverage to IMS bpbn execution
           of thli Agirbernent br the Evbfit Wlti be canceled, and no fees or doposltb pald Orlor'td the c,~noellatlon wlll bo ref6nded.                    .. ....
           Tho c4ortificato of Insurance muot demohstrate tilo fcIfo%'An9:-:
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    •                         .                  '     -'citid fuilyperfoTm overy proviston ot thls Agreenrent; rind (li) Iho porson oxaculinp thts Aqroomoiii on IM9' behalf hns
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                              ;.                       1 '6. Llconsoo pnd Lleensee's agenlr., roprosontatfves, eaiployees, confractors and invilees end spoclolors
                                                                eoe"I shafl bo provided wlih access to lho 5peedway (Includlrig twih publ(c areas and realr9cted arens of Iho
                                                         Speedway) condiilonod upon Licenseo's complivaco with lhis SecUon•11n,1'o lhe fullost extenfpossible, lt is the
                                                         Intoniton of Ltcensoe and IMS ithal ihe lrrdomnftles set forih below end lhe insuranco covaraprrmalnlatned by
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                                                         Iholds 1MS Oroup harmloss, IMS Group daos nol rgqufre indemnity frorn Llcensee. Plowovor, If and to tho extent Iha
                                                        coverHge malntained by Ltcensee for the Llconsee and IMS t3roup's banont does not hold (MS Oroup hsrmlose,
                                                         Liconeoe ehqll Indomnify, defend arid, holci harmtnss IMS (3roup for third parly cialms and Ilablllty.arlstnq li~ ,
                                                        conrteclion thoroivllh, (nctudlng costs and raasonable outalde altorneya' fees, arising from (i) Llcenseo's or ils
                                                        Invltees' use of Uie 3poedway or (li) Uie negliyenca or wll(ful misconduct of Llconsoo or ils Invitees orr(GI) Llcenson's
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                                                       wilhhetd, providad, howover, the foregoing lndcmnlly shali not appfy vAlh respecl to dalms roculfin9 frorn lhe breach
                                                       of fMS' reprasentatfons; drarranitos or covenants undor this Ac~reemenl arlrom tho sole nagUgonce ar wllKul
                                                       rnieconduct of Iho IMS C3roup or any mombor theroof. Thls SeeUon slialf survivo expfratton or termrinatlun of ihfs
                                                       Agreement. "IMS Group" rneans (MS, IndionapollR Motor Spaodw{ay foundation; Inc.', all relevant raco sanciloriing
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                                                       of lhem.

                                                      b. IMS shalt Indomnlfy, defand and hold hermless Ltconsuo und Artist and the respeciive succossota; asclflns,
                                                      ofOcors, dfreclors, ovrnere, mambcrs, aUents; aUPllales and eniployaas lhereof for thfrd party ctafms and UabUlly
                                                      orlsfng In connection lharotvith; includfnp costs aml reasonablo ouistde atlorneys' foes, Firicing from (i) Ihe failure of
                                                      iMS' Fqulpmont; lncluding, vrilhoul Umllallon, any sonware; provlded by IMS as sot forih under `Included 3anif6en
                                                      and trquipmertt lo be"provldcd by iMS" in Sedlon 1 above In connecUon wilh the parformanco of IMS' obliflatlaie "
                                                      horeundor, or (il) the sclo neqflgenoo or tivillful miscon(luct of IMS or (ls'employoes or Independent eont"mclors .
                                                      enflaged by IMS or any afOliated or refaled entity, or. QII) lMS' breach of ihJs Agrsomonl nndlor Ils     esentnftons
                                                      and warranUas hereunder, provtdad ihe appllcablo ctalm Is_reduced to a Mal ndvor•o judpment or rt;allfed ti'Blh IM3'. •.                                                                                       :'            '.
                                                      prtor written consent, nol to be unreasonabty vrfihhotd. 7his Secilon ohali sutvlvo oxptration or terminaUon uf lhls
                                                      Aflreement.                                                                                         •                                                                                                  ,
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                                                     unavailable.in advance of Ihe Evant, IMS vrifl promptly nolify Licensao and use Ils besl oitorts to mltiflato any adverae
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            14.           Maintenance of the Licensed Prenifses

                   n, Licensee shall malntain order at lhe speedway and stiaii not condtrct, and shall use Its reasonable efforis
                   not to permlt, any activliles at (he Speedway which (i) are prohiblted by any applicable law, regulation, rulo or
                   ordinance; (II) ertdanger Itia health or safety of any persons or properly; or (ill) vloiate any rules, regulations,
                   pollcies, praclices or procedures of IMS as amended froin lime to lime by IMS In Ils sole discretion provlded
                   Licensee has prevlously been nottfied thereof In writing.

                   b.    Licensee shall use Ils good faith reasonable efforts not to commit waste at the Speedway, damage
                  Speedway properly or malntaln or permit to be mainlalned a nuisance Ihereln. Llcensee shall not appiy any
                  subslance to any racing or other surface without Ihe consent of iMS. Licensee sliall present aii licensed space In
                  a tasteful mannerappropriate for Invltees of all ages. F'oliowing the Event, Llcensee shall remove any and all
                  trash and debris, clean all surfaces, and otherwise return lhe Licensed Premises to the same condltion, normal
                  wear a►td tear excepled, as Ihe Lloensed Premises was received by Llcensee from IMS. Llcensee shall be
                  responsibte for any and ali properly damage and all clean•up cosls lo lhe Licensed Premises during or as a
                  resull of the Event. AII debris slrall be placed in containers furnished by IMS. No f[rearms or olher weapons shall
                  be brought onto lhe grounds of the Speedway.

               9,        The Inlegrily of any paved surface of Ihe Llcensed Premises shall he malntained al all limes, and Ltcensee
               shall repair any damage to lhe surface at Licensee's sole cost. Penelratlon of the parking surface wllh tent
               stakes or slmilar Implements Is proliibited. -

              ~         AIl displays and trailers are subject to IMS approval, not to be unreasonably wAthheld. IMS shall be deemed
               to have approved any dlsplay provlded such display woUid not cause IMS to be In breach of any of (ts thlyd party
              obllgatlons or otherwise expose IMS to legal Ilablllly or malerial repulationai harm. The Incluslon of any Artist
              logo or other mark on or In connecilon wilh any dispiays or lrallers shall not be iieemed to expose IMS to
              reputallonal harm. AII dlsptays and Irailers shall be free standing. Storage on top of any traller located on the
              Ltcensed Premises is prohlbited. No one Is permitled on top of a Iraller Iocated on the Llcensed Premises,
              Licensee shall be solely responsible for malntatning the Ltcensed Premises In a clean and tastefui manner dttring
              the Lieense Pedod, conslstent wlth the standards of taste for simllar concerts In the Uniled States.

              e Ail stages and olher ternporary structures inciuding stage equipment, elevated platforms, moblle/portabie
              bleachers and fences must compiyvrlth ali applicabie laws and regulallons and may be subject to prlor
              Inspectlon and approval by a governmenlal authorlty and IMS, provided IMS sllall not unreasonably wllhhold Its
              approvat and sltall be deemed to have approved all stages and oiher temporary slruclures that are of a lype and
              qualily consfstent wilh that customarlly used for simiiar concerts In lhe United Stales.

              j,        AII merchandise to be sold In lhe Licensed Space must be dlsplayed, stored and sold from a moblle traller
              unit or professional portable tenling wllh proper disptay area and self-contained storage,

             g, The boundaries of any dlsplay space ldenti4ed In Section I niay not be exceeded and shall contain•
             completeiy all elemenls of Ihe display, inciudtng but not Iimited lo reslroom faclllties, generators, light towers,
             slorage units, ogice trailers, lraclor/trallers, rubbish conlalners, personal vehicles, holsting equlpment, rlgging,
             slakes, entrance slruclures, guywlres. (f the dimenstons and locatlon of the display space have been specified to
             In Section I or subsequent to execution of lhis Agreement, they shall nol be changed during Installalion. Motor
             vehicles nol a part of a dlsplay are onty pQrmitied In parking lots operi to lhe publlc,

             b, AII porllons of lhe Event, Including viewing areas, exhibits, klosks, Interaclive dlspiays, and stages that are
             open and avallabie to Invilees and shall be accessible to indivtdt►als with disabilittes, and shall comply wiih the
             Amerlcans wilh Dlsabililies Act (ADA).

             j, Upon conseni from IMS, not lo be unreasonably wtthheld, Licensee may "pit►g In" customary power and/or
             telecommunications cords tnto currently exlsling standard househoid power otittets (120 voit convenlence
             receptacles) or currentiy exlsting slarndard telephone jacks, Any equipment, device or system requlring
             connections to other services must be connected and dlsconnected by IMS.

             j, Operation of the Eventshall Immediately cease If so Instrucled by IMS or pubiie safety officiats acting In
             good faith due to severe wealher materially threaten(ng lhe attendees of the Event or othenvise based on
             legitimate concern for publio safety. Licensee shall be prepared to lovier, dlsrnantle, and/or sect► re as required
             any parts of the display or vendor area that are unstable, susceptible lo darnage or otherwise pose an elevated
             hazard during high wlnds, lightning, and heavy raln. Licensee shall Insure that display is fabricated and Installed



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                  In such a manner as to be qulckly dieassembled, lowered and/or secured as required to Insure the safely of lhe
                  generai pubilc during severe weather.

                  k IMS safely personnel will be onsile during Ihe Event to provlde sectirily for tho Event and Its altendees, if
                  Llcensee requires addlllonal security for lho Evenl, IMS wlil asslst in making these arrangements through an
                  IMS-approved security flrm at Llcensee's addlllonai expense.

           16.        (Vllscoflaneotrs.

                 g,. Asslunment. Licensee may not asslgn or transfer any of t(s rlghts or obligations under this Agreement
                 wilhout the prior wrilten consent of IMS.

                 b Entire Agreemopl, This Agreement constftutes the entire underslanding between the pariles lo thls
                 Agreement with respect to the subJecl nialler of thts Agreement and shaN be deemed (o supersede all prior
                 agreements, whether writlen or orai, and the terms and provlslons of any such prlor agreetnents shall be deemed
                 to have been merged Into this Agreement. Nolwlihstanding lhe foregoing, IMS and Licensee hereby
                 acknowiedge and agree that they Intend lo enter Inlo, and are currently negotlating, an overall exclusive
                 agreement betaveen each oiller purstiant to which Lfcensee tvould be (he exclusive promoter of muslc-reiated
                 events at the Llcensed Premises for a term of four (4) years from the date of the Event, with an excittsive six (6)
                 month first negottalion right to extend sttch term (the "Overalt Agreement"). At such fline, If ever, Ihat stich
                 Overall Agreement is entered into, Ihis Agreement shall be deemed to be superseded Ihereby (except as may be
                 expressly prov(ded othenvlse In lhe Overall Agreement), and lhe Event shali be deemed to have been
                 undertaken pursuant to the terms and conditions of tlre Overall Agreement.

             g, Modificatlon and Walver. No supplement, modl(lcatlon or amendment of thls Agreement shall be binding
             unless execUted In %tjriting by both partles. No walver of any breach or violation of any of the provlslona of this
             Agreement shall constitute or shall be deemed to conslltttte a walver of any other breach or violallon of any
             provision of th(s Agreement, whothor or not s(milar, nor shall any waiver constllute a continuing waiver. No
             watver shall be binding unless executed In writtng by (lie party making ihe watver.

             d. Pt►blie statements and Press Releases, The Licensee agrees to obtain IMS's pre-approval, not to be
             unreasonably withheld or delayed, and to coordinate the conlent and timing of all pubflc slatements and,press
             releases concerning the relalionshlp governed by this Agreement,

             e Nollce, Ail notices required lo be given under this Agreement or vAilch ihe parties may desire to glve under
             this Agreement shall be in wrlling and (a) hand delivered personally; or (b) delivered by facsimlfe transmission 1f
             receipt fs conftrmed lo the party whoni notice Is to be given; or (c) addressed and sent by certiffed or registered
             mall, postage prepaid end return receipt requested to the parlfes, Nottces to Licensee shallbe dlrected to the
             addresses provlded on Pa~e 1, to the attention of the Head of susiness Affalrs and to the Chief Financlel Officer.
            Coples of all notices to Llcensee shall be simulianeousty sent to Grabman Shlre & Me/selas. P.0 162 West 57+h
            Strtset, NervYork, NY 10019, Attentlon: Dona/dR. Fdedman, Esq., facsimila XXX-XX-XXXX. Noilces to IMS
            shall be dlrecled to Prasldent, 4790 W. 96th Sfieel, Indla»apolls,lN 46222, lacsimile 397-492-6482, wilh a copy
            to General Counsel, 4790 W. 96th 3treet,.Indianapolis;lN 46222, facslmlle 317 492-6490. If ellher party wishes
            lo afler lhe address to which nolices lo It are sent, It may do so by providing the new address, In wrlling, to ihe
            other party by one of lhe methods set forth In this Secllon 16(1), AII notices addressed !n accordance with this
            Agreement shail be effective when received if delivered by mail or, If personally delivered, ihe date on whlch
            delivery Is made.

            f. Remedios. AII rights and remedies provided In lhis Agreement shall be cumulalive, and shall not be
            exclusive of one another or of any remedles avallable at law or In ecjuily. Under no circumstances shali either
            party be Ilable for consequentfal, speclal or incidentai damages.

            g, Trademarks. Except as set forth elsewhere In tlro Agroanient this Agreement does not granl Licensee any
            rlght or Ilcense lo t►se any trademarks, servlce marks, copyrlghts or other Intellecttial properly rigitts of IMS other
            than to identify the localicn of tho Event, and any such use by Licensee Is strioliy prohlbited. If IMS grants
            Ltcensee a licenso in Seclion I or eisewhere In the Agreernenf, the Ltcensee shall have a royaily-free, non-
            exclusive, II►nited, non-transferable license to use the specifled Event Mark or IMS marks ('IMS Marks") fn the
            Unlled States for speclfled purpose roqtilrements set forth In Seclioa 1 or elsewhere in this Agreement. AII
            arlwork, design and premiums using the IMS Marks are subJect lo any app)Icabfe approval r(ghls of (MS In
            accordance with lhe terms of this Agree►nent tn each insiance. The manufacturer of any premltlm bearing an IMS
            Mark ►rnust be an oHiciaily-approved ilcensee of IMS. Reques(s for the IMS Marks and approvat shall be



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                   submitted lo Manager of Llcensing, Indianapolls Motor Speedviay, 4790 West 18'h Slreet, liidlanapolls, lndlana
                   46222, (317) 492-6792.

                   h.    Taxes. IMS shail notlfy Llcensee on a timely basis of the correcl rates for calculating Llcensee's laxes to be
                   assessed on all amounts recelved by Licensee In respect of ticket sales for the Event to enable Licensee to
                   prepare and tlmely f(le any and all tax returns or reporte reqttlred to bo fited In respect of any taxes owed by
                   Llcensee in connection wllh ilcket sales for Ihe trvent, '

                   J,    Compllance with Law. Llcensee shall oblain all permlis and comply wiih all laws appilcable to its activities
                   hereunder.

                    IN WITNESS WHEREOF, each party acknowiedges that a dtdy authorized representative of such party has
           executed thls Agreement as of the date set forth belovr, end acknowiedges thal such party has read, ttnderstands
           and agrees to the terms and conditlons of lhls Agreement.




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           Tltle: Presldent                                                            e: Executive VP & CFO

           Date:                      S
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                                   INDIANA COMMERCIAL COURT

    STATE OF INDIANA )                    IN THE MARION SUPERIOR COURT
                     )SS:
    COUNTY OF MARION )                    CAUSE NO.

    INDIANAPOLIS MOTOR SPEEDWAY, LLC, ~

                     Plaintiff,

           V.

    GLOBAL LIVE, INC. and NEW YORK
    MARINE GENERAL INSURANCE COMPANY
    a/k/a PROSIGHT SPECIALTY INSURANCE
    GROUP, INC.,

                     Defendants.

                 NOTICE OF EXCLUSION OF CONFIDENTIAL INFORMATION
                THAT IS NOT NECESSARY TO THE DISPOSITION OF THE. CASE

           Contemporaneous with the filing of this notice, Plaintiff has omitted confidential

    information in accordance with Administrative Rule 9(G). Pursuant to Administrative Rule

    9(G)(5)(b)(ii)(a), Plaintiff provides this notice that the omitted confidential information "is not

    necessary to the disposition of the case" and, therefore, "the excluded Court Record need not be

    filed or tendered in any form and only the Public Access version is required." Admin. Rule

    9(G)(5)(b)(i).

       Document to Be Excluded from Public               Administrative Rule 9(G) grounds upon
                     Record                                 which exclusion is authorized

    Pages 9 and 10, titled "Schedule A," to Exhibit Administrative Rule 9(G)(2)(b); Ind. Code
    A ofthe Com laint                               §§ 24-2-3-2, 24-2-3-6
Case 1:17-cv-01743-JMS-MPB Document 1-1 Filed 05/25/17 Page 56 of 131 PageID #: 62




                                            Respectfully submitted,

                                            ICE MILLER LLP


                                            /s/ Olga Voinarevich
                                            Angela P. Krahulik, Atty. No. 23036-49
                                            Olga Voinarevich, Atty. No. 32188-48

                                            Attorneys for Plaintiff, Indianapolis Motor
                                            Speedway, LLC

    ICE MILLER LLP
    One American Square, Suite 2900
    Indianapolis, IN 46282
    (317) 236-2100




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            Sl'EEDWAY, LLC                                   ~
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!                     Defcndant.                             }

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                      CQrne naw the Plaintiffi, Pameta and Vuitliam SltepaW, and for their cause of activn

            a,gai.ast Defendant; Indianapolis Mot,of Spvedway, LLC, state as foUoWs:

                      1.       At all ti:mes herein mentioned Defendant maintains iE.s corporate tleadquairtcrs at

            4790 West 10 Stneet; Indianapolis, lndiana,

                      2,       oti or about July 4., 2015,Plaintiff Paimela Sliepard, was a business inv'iteo of the

            Indianapolis ]Vlotor Spaedwayr L.LC, Marion County, India][1111polis lndilnta.

                      3:       At sstid tiine and plaee, Ptaintiff Pamel,a Shepar+d fett after striking aconcealetl

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                      b;        Dafendant ]h,ad notice of the hQzac+dous conditic>'n:




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            7.      As a proximate result of Defendant's careless and negligent acts and/or omissioris

    Plaintiff, Pamela Shepard, has suffered the following damages:

                    a.      severe physical injuries;

                    b.      pain and suffering;

                    C.      emotional distress;

                    d.     reasonable medical expenses; and

                    e.     disfigurement.

            8.     That as a direct and proximate result of Defendant, Indianapolis Motor Speedway,

    LLC's careless and negligent acts and/or omissions, Plaintiff William Shepard has suffered the

    following damages:

                   a.      he has been deprived of the love, care, affection and services of his wife;

                           and

                   b.      he has had to provide for the nursing care and assistance of his wife.

           WHEREFORE, Plaintiffs, by Counsel, demand judgment against the Defendant,

    Indianapolis Motor Speedway, LLC, in an amount which will fully and fairly compensate them

    for their injuries and damages, for-their costs, for TRIAL BY JURY, and for all other just and

    proper relief in the premises.

                                                            Respectfully submitted,
                                                                                                         ~
                                                                                                     ~—
                                                            Merry . Fou125-49 n
                                                            Attorney No.
                                                            THE FOUNTAIN LAW FIRM
                                                            10401 North Meridian, Suite 209
                                                            Indianapolis, Indiana 46290
                                                            (317) 423-4242
                                                            Attorney for Plaintiffs
                                                        2
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One American Square : Suite 2900 : Indianapolis, IN 46282-0200




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                                                  Marine General lnsurance Company a/k/a YroSight
                                                  Specialty Insurance Group, Inc.
                                                  c/o Corporation Service Company, its Registered
                                                  Agent
                                                   80 State Street
                                                   Albany, NY 12207
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